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              EXHIBIT                                      99
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                        BANKCARD ADDENDUM-To MASTERSERVIGES AGREEMENT'

     This Merchant Services Bahkcard Addendum -("Ba:nk<;ard Addendum") is. among -the CUSTGMER
     Identified above, CITICORP PAYMENT SERV|CES.. ING .("CPSI" or "3ANK") and FIRST DATA-
     MERCHANT SERVICES QQRPO TIQN ("FDMS") (CPSI and FDMS aré~¢oIIectlvély .§Q Ef@d ta' as.
     "SE8VlCERS"). Tha terms of the Master Services Agregment betwéen FDMS and-CUSTOMER.are
     incorporated herein and the parties heretoagwe to be bound by auch terms.

     GPSl, as a wholly~owned operating subsidiary of a member of Visa -Ll.S.A., Inc. ("VlSA") and MasterCard
     International Incorporated ("MastierGard") (VISA and- MasterCard. collectively, the "Associations" or
     "Bankcard Assoclatlons"), is a licensee of the Benkcerd Associations permitting n to acquire VISA and
     MasterCard transactlonsfand has sponsored FDMS with the .Bankcard Associations as .a "Member
     Services Provider" (as defined In the Bankcerd Association Rules). Accordingly, FDMS shall perform
     certain functions in connection. with authorization, processing and settlement for Customer hereunder. As
     between themselves, the respective rights and obligations of FDMS and CPS! shall be governed bythe
     agreements 'between them and/or their parent entities and Bankcard Association Rules.             Customer
     acknowledges that, notwithstanding anything contained in-any or all of this Bankcard Addendum (which
     includes the Annex(es), Qperating. Procedures, attachmends), schedule(s) or ~supplement(s) referred-to
     herein or amendments to. any of the aforesaid) to the contrary, SPSl's obligations hereunder snail be
     llmltedto the sponsorship and settlernenf of certain Card transactions submitted ln accordancewlth the
     terms and conditions of this. Bankeard Addendum and the Bankcard Association Rules, and cpsi shall
     not have any obligation .or llabllity ofeny nature In connection with any and all debit or EBT transactions
     or related services or any services of any .kind provided by FD.MS or its affiliates provided hereunder or
     pursuant hereto.

     |n consideration of the- mutual covenants and agreements. set forth herein andother good .and valid
     consideration, the receipt- and sufficiency of whtch are= hereby aoknowledoed, SERVICERS and
     CUSTOMER agree as follows:

     1.    Definitions. As used In this Bankqard Addendum, naplfallzed terms will have the meaning set fbrth
           ih Annex 1.

     2.    Services.
           2.1 During the term of' xlpé Bankcard Addendum. CUSTOMER Shall use. SERVICERS as its
               exclusive provider- of aili Servlbes- for CUSTQMER.
           2.2 Subject to Assocwation Rules, Slervlcés méy be performed by FDMS br"BANK subject to the-
               agreements batween tliem as. the same may be modified from tlmezto time. In addlllbn to
               SERVICERS, one or more 'alflllates Gf SERV1GERS may .assist lm pro\{ldlng.termlnals-or other
               equipment and local support funutions In connection with    Bénkcard Addendum provldHd
               that SERVICERS shall. al all times nemeln responélble for the acts and omlasinns of such
               Affiliates.

     13;   Acceptance ofCards.                                           .
           3..1 CUSTOMER wlll accept any Card properly tendered. without imposing any 'special conditions
                not required or -allowed by .Assoclatlon Rules. CUSTUMER wlll assess no-special charge or
                extract any special agreement. condition (Including any minimum or maximum transaction
                amounts) or .securltyfrom-e Gardholder in- connection with any Card transaction. CUSTCMER
                snail notpost signs lndlcatin~ that CUSTOMER will refuse-to honor.Card transactions below or
                above a' specifledamount. 'GUSTGMER may offer' a discount for using cash' if-dearly disclosed
                aa -a discount from the price available for all other means of payment.. GUSTOMER snail. not.
                engage ln acceptance practices or procedures .that discriminate. against, discourage or favor
                the offered use. of any 'particular Card accepted by GUSTUMER. CUS'lfQMER.wil| not require
                Cardholdersto provide ,personal information such as' -a home or business telephone number.. a
                home or business address, oreny form of identification (such as-a drlver's license) as .a
                condition for honoring and accepting ~a Card, unless specifically required. by this Bankcard'
                Addendum or the applicable Association for ver1fication-of=identlty. If applicable. CUSTOMER.
                shall not accept Cards at terminals that dispense scrip (l.e. en apparatus and. method for
                dispensing paper media ls disclosed) in violation of the Association Rules.

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          3.2 CUSTOMER must chegzkeach Card- accepted for valldlky. in accordance with the terms of this.
              Bankcard .Addendum the Operating Procedures and- the applicable Assuelatinri. Rules.
              CUSTOMER must notsubmtt anysale that was not created between the CUSTOMER and the
              Cardholder for settlement and under no circumstances may a CUSTOMER submit ény sale-that
              has been previously charged back by the Cardholder and returned ta CUSTOMER.
          8.3 CUSTOMER wlll check each. Card used during a transaction for validity in accordance with. the'
              terms of .this.Bankcard Addendum. the Operating Procedures and the applicable Association
              Rules. CUSTOMER will not honor a Card that appears tobe Invalid or expired.
          3.4 All Sales Drafts and Credit Vouchers must include gl) either a .manual imprint. or an electronic
              printing of the Card obtained by passing the magnetic stripe pn the Card through a point-of-sale
              terminal, of Cardholder Mormatlon contained on the Gard or magnetic stripe; -(li) thessignature
              of the authorized user as it appears on =the.Gerd;..(ii1).the date -or the transaction; (iv)..a
              description of the merchandise sold -or rented or the services rendered; and (V) the 'total cash
              priceof-ine Card transaction (including taxes).          .                                      _
          3.5 Except for transactions completed by using magnetic stripe reading-point-ot»sale.terminals. that
              print Card transaction records- or originated at limited amount .terminals that arecapable of
              reading. magnetic stripes and limit each Card transactlonto twenty=five ($25), CUST®MElR.is.
              deemed to warrant the 'true identity -ofany Cardholder unless CUSTGMER imprints the Card on
              the Sales Draft, as described ln subsection 3.4, above.
          3:6 Unless a Card transaction ls governed. by Section 6, Section 9 or otherwise. specifically
              authorized by SERVlCERS in writlng,.CUSTOMER may only complete a Card transaction when
              (i) the Card ls present and (X) the data. stored' on the magnetic stripe. is electronically read and
              printed by a magnetic stripe reader or (Y) the Card is manually imprinted, (ll) the Card ls signed
              and the signature on the Sales Draft appears to be the same as the signaturecn the Gard, (ili)~
              the Cardholder resembles ine person pictured (lf any) on the Gard. and. (iv) all, or the
              appropriate portion, of the embossed account number on -the Card matches with the
              corresponding digits printed on the Gard and with the account number.displayed.andlor printed
              by a .point~of-sale device reading the magnetic strip .on the-Gard. (lf a previously unsl.~ ned Card
              is signed at the time of a Card transaction, CUSTOMER will review (and identify on the Sales
              Draft) a current, official government identification document (such as a drlver's license or
              passport) bearing. the~ Cardholder's.slgnature.) CUSTOMER will deliver at least one copy .of the
              Sales Draft or agreementor Credit Voucher to the Cardhold ~r.

      .   Operating Procedures; Association Rules.
          CUSTOMER acknowledges that. lthas received the Operating Procedures, the terms of which are.
          indorporated into this Bankcard Addendum. CUSTOMER agrees to:folloW the presedures Tn the
          Qperatlng Procedures In connection with. each- Card transaction and to complywith all applicable.
          Association Rules. From time te time, SERVICERS maychange the Clperatlng Procedures, ln whole
          or in part, and other .operatlng procedures, by providing CUSTGMER with at leastthirty (30) days"
          prior written notice of the dnange. However, .ln the eventof changes In the~Assnclatlon Rules..er due
          to security reasons, certain changes In Cardprocedures may become effective on snorternotlce. If
          there ls any- conflict between the terms of this Bankcard Addendum' and the Operating Procedures
          the terms of this Bankcard Addendum will govern; unless. the conflict is directly related to a .change ln
          the Operating Procedures whlrsh specifically eddressesja procedure or requirement detailed in this
          Bankcard Addendum. lfCUSTOMER loses er otherwise rnlsplaees the Operating Procedures or
          notices cfohanges thereto. CUSTGMER shall be responalblefer conlaetlng SERVICERS' to obtain
          replacement codles.

          Authorization.                                                                                   .
          5.1 CUSTOMER shall be responsible for obtaining Authorigation In' advance for each Card
              transaction. Tho- Authorlialion number -provided by SERVICERS shall be noted' by
              CUSTOMER ln the appropriate place on the: Sales Draft. If Authorization is declined,
              CUSTOMER shall not completethe Card transaction.
          5.2 cusromen- shall comply with any special authorization procedures contained in any other
              sections of this Bankcard Addendum. the Operating Procedures the Schedules and the
              Association Rules.
          5.3 cusrroti/len acknowledges' that Authorization, (l) lndlc~tes only the-availability of credit at the
              lime or Authorization, (il) does not warrant that the person presentingthe Gard is the rightful.


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                 Cardholder: and (ill) Is not an- unconditional .promise. or -guarantee by SERVICERS that any
                 Card transaction will not be subject to'C.hargeback..        .                     .
          ~5.4CUSTOMER may, as permitted th this Bankeard Addendum and for an additional fee, obtain a
              voice authorization or manually enter the transaction, ln the event that the POS Terminal ls~nnt
              operating properly. SERWGERS will provide CUSTGMER with an approval number for voloa
              authorized transactions and CUSTGMER shall record-suoh approval number on the Sales Dfafir.
          5.5 SERVICERS shall have ne- obligation to process any transactions lnltlated with a Gard type not
              selected by CUSTOMER on the Application end .SERVIGERS shall be =antlUed to decline such
              transactions without first attamptlng lo obtain an authorization. ln the event any auch
              transaction ls inadvertently not declined by SERVIGERS and ls authorized by a card;-issuing
              organization. Credit Gard Association. or Network, CUSTOMER shall be fully liable. foreach
              transaction. as if the Card 'type initiating in such. transaotlhn was selected by .CUSTOMER.on
              the.Appltcation.

          Telephone and Mail Orders.         .                           .
          6.1 If GUSTQMER is authorized to accept telephone br' mall orders, Authorization for each such
              Card transaction, regardlessef theface amount, must be .obtalnedahd CUSTGMER .mustwrlte
              "To" (indicating telephone order),. or "MQ" (indicating. mall.order) as applicable, on the Sales
              Draft In lieu of the C8rdholder's signature. CUSTUMER assumes all responsibility for
              Identification of the Cardholder and the-validity of the.Card.lnforrnatlon'for telephone and mail
              orders, For telephone and mall order Gerd transactions where merchandise is to -be shipped or
              delivered to or for the Cardholder, the shipping date shell not be more than five calendar days
              after the Authorization ls obtained, and any shipping costs not Zincluded ln the Authorization
              amount must not exceed fifteen percent (15%) of the amount authorized.
          6.2 An installn'rent.payment option may be offered for telephone or mail order merchandise lf all
              terms are clearly disclosed, each Installment is authorized, the first installment ls not submitted
              for settlement .until the merchandise is shipped, and subsequent installments aresubmitted no
              more frequently than monthly.                                .
          6.3 Under no circumstances may CUSTOMER require that a Cardholder complete a postcard or
              otherdocument which dlsplaysthe Cardholderts account data in plain view when mailed.

      .   Multiple Seles Drafts and Partlal Gonsltleraflon.                                        .    .
          7.1 Except as shall be speclfldally set forth in the Dperating .Procedures or the Aseoclatlon Rules,
               CUSTGMER shall llsl all items ofgoods and servlees purchased durlng each Card transactlon
               and the tolalemount thereof one slngle Sales Brett.
          7.2 cusromen shall comply withall speclel procedures and conditions .applicable under the
               Operatlng Procedures and the Aseocletigin Rules' wlth reepecl to any partial -payment,
               Installment payment, delayed .dellvery or advance deposlt situation and any delayed or
               amended cherges.~for a travel and entertainment transaction. 'CUSTOMER ahallr not use mere:
               thanone Sales Draftdorepresemta single Card. transaction .te-avdld the need fer Authorl;atlon.

          Preauthorlzed Orders-and Recurring Sales.                                                      .
          8.1 A Preauthorlzed Order or Recurring Sale may includethe .payment of recurring charges such as
                insurance- premiums, subscriptions, membership fees, 'tuition orutility charges and may also
                incluclepreauthorlzed health care. payments (subject-toe Schedule.
          a.2 lf' CUSTOMER Is authorized toaccept Preauthorized. Orders or Recurring. Sales, Authorization
                for each such Gerd transaction, .regardless cf the-amount. mustbe obtained and cusromen
                must write "Recurring Transaction" (for Vise iennl other non-MasterCard Card transactions) or
                 "PD" (for Mastercard Card transactions) as applicable; on the Sales Dr~ft In lieu of the
               Catdholdereisignature.                    .
           8.3 Except for preauthonized health care .payments for the incremental costa not covered by
               insurance; advance deposits and. Installment payments, 'all made ln compliance with this.
               Bankcard Addendum and the Operating Procedures and Association Rules, is Preeuthorl;ed
               Order or Recurring Sale may not include partial paymentsmade lo CUSTOMER for goods or
               services purchased in a single transaction. In no event may any finance charges be imposed
               on any periodic payments ln connection with a Preauthorlzed Order or Recurring Sale..
           8.4 CUSTOMER may not accept a Preauthorlzed Order or Recurring Sale from a Cardholderiorthe
               purchase of goods or services which are delivered or performed .periodically unless. the
               Cardholder completes and deliversto CUSTOMER.a-written request (and. when aptpllcable-a

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            written renewal request) Identifying (i) the goods or services to l:ge.~o|1arged to the Cardholder's
            account-. (ll)'the -amount of the preeuthorized or recurring charges (unless such charges are for
            variable. amounts), (iii) the frequency of the preauthorlzed' or recurring charges- end (iv) the
            duration of time for wrilch the Cardholdsfs permission is granted. -If CUSTOMER accepts any
            Preauthorlzed Orders or Recurring Sales for variable amounts,.GUSTOMER. must comply with
            lhesupplementel provisions sel=forln In 'the-applicable'Schedules.
        8.5 T.heCerdholder's. written request (Including any written renewal request) must tie (i) retained for
            the duration of the :preauthorized ,or .recurring charge; (li) provided in response to e Card
            issuing..banks .request for original documentation, and (lil) used no longer after receiving notice
            of cancellation.

        Intqmet Progessing.                                                                .
        GUSTOMEFQ must=obtaln approval fmm SERVIGERS to aeaept and' process lntemet transaratlons
        through SERVICERS. CUSTOMER.etso acknowledges that It must Inform SERVICERS ents. use of
        any processing software. third pany Internet payment gateway. shopping cart, Web Site host. or
        other -service provider (collectively "Internet Service Providers"), that any Internet payment gateway
        must be approved by-SERVICERS arid. that CUSTOMER' is. prohibited from tren'smltttng.any-
        cardholder transaction date to any Internet Service Providers (or any third party) without the '
        approval. of sEr=<vtCERs. If CUSTOMER accepts .internet transactions without such approval,
        .SERViCERS may, In addition to any' other rights- it may`have~ under thls Bankcard Addendum.
        establish a chargeback reserve account to protect them from risk of loss, lf authorized to accept
        paymentfby Internet. the Sales, Draft shalt be completed 'without the Gardholders signature or an
        Imprint but shell include the Cardholders name, billing-address, Card number,.expiration date, of the
        Card, a description of the merchandise or service and: the. date -and amount of all charges. Ali
         Internet transactions will be settled by'SERVlCERS into a depository institution in the United States.
        CUSTOMER shall process Internet transactions .only (a) tr the Internet transactions havebeen
         encrypted' by SERVICERS or by an Intemet Service- Provider approved' by SERVKIERS and (b)
         Cardholder date. is protected by CUSTOMER as required by the then-current Association Rules,
         PCI data security requirements, or any other applicable regulations. Encryption ls not guarantee of
         payment to CUSTOMER. ¢USTQMER.acknowtedges that Internet transactions may be authorized
         and settled through -separate BINMCA numbers and interchanges and. that SERWCERS may be
         unable to combine deposits of Internet transactions and non Internet credit and debit Card
         transactions, Because the transactions: processed vla the lnternetare higher risk, CUSTOMERmay
         be charged hlgherfees which are set. forth on the Schedule of Fees. .Internet transactions. 'are
         subjected to a higher incidence of chargebacks and, as with non-internet.transactions, receivingan
         authorization and following procedures will not relieve the CUSTOMER of llablllty associated with
         chargébacks and/or the fraudulent use of customer data obtained off of CUSTOMER's Web Sites.
         All communications costs related to internet transactions are CUSTGMER's. responsibility.
         SERVICERS will not manage the internet. telecommunication link which is also CUSTOMER's
         responsibility. Dbtainlng anylicense-or sub-license of software required to permit CUSTOMER to
         process Internet transactions shall be CUSTOMER's responsibility.. and if obtained frbm
          SERvlCER's, -subject to a separate agreement. SERVICERS do not guarantee .that obtaining
        required.. approvals- from SERVICERS or implementing suggested security measures will cause
          GlJSTOMER's lnternettransacttons to be secure or lmpregnable..and SERVICERS will not be.
         responsible- ln the event Qfthe lnfiltratlon=of CUSTOMER's or-any Internet Service Provlderis security
          systems. CUSTGMER further acknowledges and agrees that SERVlCERS.arenot responsible for
          the security of the 'Cardholder data or information .stored on t3L)S'l"OMER's crafty internet Service
          Prevldefs computers. systems cr WVb..Slte(s) and that CUSTQMERWWIII be solely responsible for
          any Ilablllty, fines, or penalties arising from its .use, storage.. ordlssemlriation of cardholder date,
          except to the e>ttent such liability; fines, or penalties result from the negligence, intentional cr willful:
         misconduct of the, senvlcans.




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     10¢ Cardhoider Refunds.andCredits.
         10.1 If a. Cardholder returns goods or cancels' services. purchased from CuST13MER.with a Bard, dr
              CUSTOMER allows anydther_prlce adjustment after' a sale has been. completed and' a refundor.
              adjustment is due io the Cardholder (other than .any Involuntary refund -required by applicable
              airline or other tariff or .by law), CUSTOMER will- .not return cash to the Cardholder but' will
              instead- prepare a Credit Voucher andf process each such refundor adjustment, as specified ln
              the Operating 'Procedures and Association Rules. CUSTOMER will give the Cardholder aoopy
              of the completed Credit Voucher.
         10.2lf CUSTOMER. estatillshes e policy llmitln~ refunds or acceptance of returned:merchandlse~
              (e.g., no refund, exchange. only,.In»store -credit only, or special conditions), CUSTOMER must
              follow the .procedures regarding refunds- and returned merchandise as set forth ln' the
              Association Rules including, without limitation, the proper disclosure of suchpolicy on- all copies
              of each Sales Draft ln letters at least 1/4" high lholoee. proximity tothe space-provided for the
              Cardholder's signature;
         toe CUSTOMER will not accept money from e Cardholder 'for the purpose of preparing and'
             -depositing .a. Credit Voucher tnat will effect a deposit to the Cardholder's account. CUSTOMER
              must not process a Credit Voucher without having completed e previous Cardtransactlon with
              the same Cardholder (or with e Cardholder"who purchased a gif! returned by the recqaientl.
              Under no circumstances may CUSTOMER require a Cardholder to waive the Cardholders right
              to dispute a Card transaction with the Card issuing bank.

     11 Presentment of Card Transactions.
          T1 .1 CUSTOMER shall.electronically or physioally deliver to SERVICERS Sales Qrafts for all Card
               trensaotlone to be prooessedand settled hereunder..The-deadlines for submitting. Sales Drafts
              are: (.i)for VISA and MasterGard Card. transactions, the special time frames specified in the
               Schedules `for CU5TQMER'e Card Mnsaetions to.qualiW for thespedai pricing provided under
               applicable VlSA and MasterCard incentive programs; (ll) for Card transactlonslmolvlng Cards
              other than VlSA or MasterCard, the time frames established by CUSTQMER's agreementwlth
              the applicable Association orbythe applicable Aseoclation Rules: (ill) the applimble time of day
               specified ln the Schedules hereto and (lv) in no event later than the fifthcalendar day or third
              banking day (whichever is earlier) after completing Card transactions (unless CUSTOMER ls
              entitled to any special extension of these deadlines). CUSTOMER_aoknQwledgee that the times
               specified ln clause (lvl of the-previous. sentence- are the maximum deadlines andthat fastentlme
               frames are reoulred to euallfv for incentive pronrams.
          11.2 cusromea will not submit any Sales Draft that was not cmated in conjunction with. a Gard
               transaction between CUSTOMER and the applicable Cardholder. Under no cimumstannes will
               CUSTOMER submk.any Sales Dreh that nas-been previously-chargedback by the Cardholder
              and subsequently returned to .cusroMER.

     12. Settlement of Card Transactions.
          12.1.SERVlGERS 'wlll only be required -to settle Gt)SI®MER's Gard trahseetlons for Garde as
               specified herein. Promptly after. presentment bf Salas Drafts pursuant to Section 11,..aboi/s, as
               applicable, SERVIGERS ~wl|| initiate a transfer vla. Automated' Clearing .House .Credit bf the
               applicable settlement funds to CUSTOMER. When SERVICERS receive payment of
               settlement funds through automated clearing house credit, SERVlCERS`wlll Initiate a transferof
               such applicable settle-ment funds. through ACH to cusromme Settlement Avtidllfhtl
               Settlement by automated clearing heuse .credit wlll take place the .second bankllls day anar-
               SERVICERS- process-the -applicable Card transactions.
          12.2 All settlements to CUSTOMER forVlSA and.MasterCard 'Gard trahsactlons will be based upon
               gross sales. less credits/refunds.. actiustments, applicable Interchange, assessments, fees,
               Chargebacksf amounts payable tcrthlrd parties .pursuant to lnstructlons. from CUSTOMER ln
               accordance wlth Assoctatlon Rules, and any other amounts then due from CUSTOMER to
               SERVICERS. Settlement generally occurs wltnln two (2) banking days after SERVICERS
               process appllcable settlement file.
          12.3 All eredtts to CUSTOMER's Settlement Account or ether payments to -CUSTOMER are
               provisional and are subject. to, among other thlngs, SERVIGERS' tlhal audit, Chargebecks
               (including sERv|cERs* related losses), fees and flnes imposed by the Aesoclatlons.
               CUSTOMER agrees that SERVICERS may deblt or credit CUSTGMER'S Settlement Account

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             for any deficiencies, overages, fees and pending Gnargebackii dr may deduct such amounts-
             frem settlement funds due to CUSTOMER. Alternatively, SERVICERS may eleatf to invoice
             CUSTOMER for anysuch amounts, net due- 80-days after the invoice data or'on such earlier
             date as may be speolfled.
         12.4 SERWCERS will not be llab|e.1'or any delays in -receipt of funds or errors ln debit and credit
             entries oaused by third parties including but not limited to any Aseociatlcner CLlSTOlvlER's
             financial Institution. ln addition to any other remedies avaltatile to SERVICERS under thls
             .Bankcard.Adde.ndum, cusrorvlea agrees that should any of the events set forth -in Paragraph
              21,3 occur, .SERVIGERS may, upon at least 24 hours' advance written notice. change
              processing or payment terms to suspend credits or other payments of .any and all funds, money
              end amounts nowdue or hereafter to become 'due to GUSTOM.ER.from SERVIGERS pursuant
              te the terms offthls Bankcard Addendum, until SERVICERS havehad reasonable opportunity to
              Investigate and discuss such event with- CUSTOMER. ln cases of fraud or slmllar cause,. no
              prior notioeshell bemqulred, but SERVMRS shall notify CUSTGMER ln writing within three
              business days after effeotuetlng a suspension of credits or ether payments, which notice shall
              state SERVICERS' reason for the belief that such fraud or-similar cause exists.

     13 Fees; Adjustments; Collecilon of Amounts Due.
        13.1 SERWCERS shalt charge CUSTOMER a fee for the Services. which shall be calculated and
            payable pursuant to the Schedules and any additional pricing supplements. The discount fees
            shown on such Schedules shall be calculated. based on the gross amount of only VISA and
            MasterCard transactions submitted lo SERWCERS. The fees with respect to other Gard
             transactions shall be a percentage of the gross amount of.. or a per transacticn fee for. all such
            Card transactions. SERWCERS will refund applicable Interchange feesto CUSTOMER daily.
            CUSTOMER acknowledges that the fees stated herein are .based upon the qualification of
            CUSTOMER's transactions for certain reduced interchange feee as set by the applicable
            Association. lf CUSTOMER's Card transactions fail to qualifytor the reduced interchange fees
            SERWCERS shall.process such'Card transactions atthe applicable interchange fees as set by
             the applicable Association. lf a transaction fails to qualify for CUSTOMER's anticipated
            interchange' levels, then the Association will downgrade.the transaction and process lt at e more
            costly interchangelevel for which itfdoes qualify. In that event, CUSTOMER shall be charged a
            Non-Qualified Interchange Fee, which ls the difference between the interchange fee associated
             with the anticipated .interchange level and the interchange fee associated with the interchange
            level at which the transaction actually .was processed t".Non-Qualified interchangeFee"). .
        13.2 The fees for Services. set forth=in the Schedules and any additional pricing supplement, are
            based upon assumptions associated with the anticipated annual volume, average transaction
            size and GUSTOMER'S method of doing business. lf theactual volumecr average transaction
            size falls below flfty(50%). percent of the volume or transaction sizeindicated on ScheduleA, or
            if CUSTOMER significantly alters its method of doing business, SERVICERS may adjust
            CUSTONlER'e discount fee and transaction fees without prior notice. if the actual volume or
            average transaction size rises by more than fifty (50%) of the volume or transaction size
             indicated on Schedule A, SERWCERS will adjust GU5STONlER's discount fee and transaction
            Fee downward.
        13.3The fees for Services set forth in the Schedules may be adjusted to reflect increases or
            decreases by Associations ln interchange, assessment or other Association. fees or"to pajss
             through increases charged by Third Parties for omline communications. Alllsuch .adjustments-
             shall beC=USTOMERie responslbillty"to pay andsnall become effective upon the date any such
             change. is implemented by the applicable-.Association or other Third Party. CUSTOMER shallal
             alltimes be responsible for.. peymentiof all fees and charges (including increases additions, or
             moditicatlon made thereto), Without limitation, of any Credit Card Association, Network, card-
             issuing organization, telecommunications. provider, federal, state, or local goverrimental
             authority (each a "Third Party'f) includlng,. without limitation any switch fee, issuer,
             reimbursement fee, adjustment tee. .interchange fee, assessment fee or access fee.
             (collectively, Third Party Fees").
        13.41f CUSTGMER receives settlement. funds by wire transfer, SERWCERS may charge wire
               transfer feesof- per wire, notwithstandingany,lesser. amount. shown on the
               Schedules, during any month ln wnctw the average daily settlement fundswlre transferred to.
               CUSTCMER is less thenl


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         13.5 In addltldn tg: the regular Chargebank fees, as sei funn on the Schedules.. CUSTOMER agrees
              to pay SERVIGERS-any fines; fees, or penalties Imposed on SERVCERS by any Association,
             resulting from Clhargebacks and any other Ylnes, fees or benaltiés Imposed by an Association:
              with respect. to~negligent_acts or 0mlsslons 'nf CUSTOMER.
         13.,6If CUSTOMER's Clwergeback Percentage for any line Of business exceeds the estimated
              lndustry chargeback percentage, CUSTOMER shall, in addition to the regular Chargeback tees
              due to SERVICERS and any applicable Chargeback handling fees or fines imposed by lhe
              applicable Aseoclallorr, pay SERVICERS the excessive Chargeback fee shown ori the
              Schedules for all Chergehacke eeeurrlng ln auch month ln =such line(s) of buslness Each
              estimated lndustry chargeback percentage is subject to change from time to time by
              SERVICERS 'ln order to reflect-.changes ln the lndustry chargeback percentage reported by
              VISA er MasterCard. Each then-current. lndustry chargeback percentage far C-USTQMER's
              applicable llne(s) of bus'irless~w|I| be .reflected In the- monlhlyloee preverltlbn report furnished lc
              CUSTOMER.
         13.7 If CUSFIGMER believes any 8dju$tments shoulii be made with respect to C>L1STOME|¥sf
              Settlement Account for any amounts .due io- or due from SERVICERS, CUSYOMER shall ndtify
              SERVICERS (at the addresses set forth In Section 26,2 and 27, respectively) in writlns within
              so. days after any debit. or credit IS oi' should have been effected. If CUSTOMER notifies
              .SERWCERS after -suchtime .parted, SERVICERS may. In their discretlcm, assist CUSTOMER,-
              at GUSTQMER's eitpense; tn. investigating whether any adjustments are appropriate and
              whether any amounts .are due- to dr from other parties, but=~SERvlQE.RS-shatl not 'have .any
              obligation 'ta investigate or effectany- suctf adjustments. Any voluntary efforts- by SERWCERS
              to- assist CUSFTUMER In investigating sueh mat-ters--shalt nat create any obligation tu centtnua
              such Investigation nr assist with any investigation in response to any future notices-of pessifile
              adjustments that are not timaty submitted.

     14. Chargebacks.                                       .
         14.1CUSTOMER.sha|| be responsible for all Chargeback amounts relating to Card transactions
             -settled by SERVICERS where:
             (I) merchandise is returned and a proper credlt for Cardholder is not received by SERVICERS
                     for processing,            .
             (li) the Sales Draft is, or is -alleged io have been, executed, acoeptedendorsed, completed or
                     assigned improperly without 'authority or not- in accordance with the Authorization
                     requirements or provisions of this Bankcard Addendum;
             .(lll) regardless of any Authorization .olwlalned (including without llrnltatlon, telephone end mail'
                     order lransaollons), CUSTGMER completed 'a transaction when'the Cardholder dld not
                     sigh the Sales Draft;                                              .
             (lv) the etgnatureon the draftwas unauthorized as eompared to the signature eppeerlng on the
                     Gardtheelgnature- panel on the Card was blank, or e limited* purposebuslness purchaslhd
                    .card was aooeptedwlthout appropriate authorization of the nature of thezgoods or servlees-
                     purcfheaed (ln addition to Authorizationof the. transaction amount);
              (v) the Sales Draft ls incorrectly completed, incomplete or llleglble..
              tvll the Cardholder disputes- the sale; quality or delivery tor avallablllly for pre-arranged pick-
                     up) of merchandise 0r the performanee or quality of sewloe covered bythe Sales Dreft or
                     agreement aooepted by such Cardholder;
              (vil)..the elrcumstances. In which the Sales Draftwas created or submitted. by.-0r credttwas.
                     received by. CUSTOMER constituted or otherwise involved- -a 'breach of any term.
                     condition, representation. warranty or duty of GUSTOMER hereunder;
              (viii) multiple Sales Drafts were executed to avoid the heed to obtain authorization .necessary-to
                     complete the transaction;
              (lx) the extension of credit for merchandise sold or rented or services performed was in
                      violation ur law nr' the rules or regulations of any governmental agency, whether federal,
                      state, localor otherwise,
              (x) e legible copy of the Sales Draft or Gredit Voucher cannot 'be produced. by CUSTQMER
                      within ten days of SERVICERS' request (except to the extent-SERVICERS are responsible
                      pursuant to Paragraph 16.1');                     .
              (xi) the Cardholder asserts any              or defense which the Gardholder has es a rionsumer of
                      goods or services;
              (xll) the Cardholder dlsputeethe validity of atelephone or mei! order Card transa¢;tton;.

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             (xiii) the Card transaction ls étherwise subject tn Chargeback -by the Card issuing bank or
                    Cardholder In accordance- wlththe Assoclatlcn. Rules-or.appllcable law, of
              (xiv)the Card transactlbn ls- subject 'fo Chargeback. in accordance with the procedures set forth
                    In the Qpérating Procedures.                                                   .
         14.2 CUSTOMER shall reimburse~SERVIEERS for any Chargeback return Items.. ur other losses
             resulting from
             SERVICERS within the applicable. time limits.

     15. Representations; Warranties.
         15.1 Without limiting any other warranties hereunder, CUSTOMER represents and warrants- as to
             each Card transaction submitted .by.CUSTOMER unde.r this Bankcard Addendum that'
             (i) the Card transaction represents a bona fldesalelrental of merchandise or-services not'
                     previously submitted;                             .
              (li) the Card transaction represents an obligation ef the Gardholderfor the- amount ef the Card
                     transaction.
             (iii) the amount charged for the Card transaction Is- not subject to any dispute, setoff, or
                    counterclaim;
             (lv) the Card tr~nsactlon amount ls only fer the ~merchandiseor services (including. taxes, but
                     without any surcharge) -sold or- rented and. except forany delayed delivery-or advance
                    deposit Gard 'transactions expressly authorized. by thls Bankcard .Addendum,..the
                     merchandise-or sewlce was actually delivered. to or performed-for.the person entering into
                     tne- Card transaction.simultanjeously upon CUSTOMER's accepting and submitting-the
                     Cardtransectlon for processing.
              (v) the Card transaction does not represent-the refinancing of an existing obligation-ot the
                     Cardholder (including any obligation otherwise owed -to cusroM'ER by a Cardholder=or
              .      arising from the .dlshpnor of a .personal check),
             (vi) GUSTCMER 'has no knowledge or notice ofany fact, circumstances.-or 'defense which
                     would indicate that the Card transaction was fraudulent -or not authorized by -the
                     Cardholder or which would otherwise impair the validity orcolleclibllity of the Qardhcld9r's
                     obligation arising from. such Card transaction or relieve the Cardholder from .liability with
                    -respect- thereto;
              (vli')- the Card transaction submitted to SERVICERS was entered into by cusrerv1ea and ine
                  . Cardholder, and.
             -(vlll) the~Card transaction was made in accordance with the terms ofthis Bankcard Addendurh
                     Association Rules .and the 'Operating Procedures;
         15.2 SERVICERS represent and warrant that SERVICERS wlllprovlde the services in accordance-
               with the applicable association rules and-applicable law,

     18. Retention of Records.
         16.1 If the Schedules provide that FDMS shall prepare and retain images.(on microfilm or otherwise)
              of CUSTOMER's paper Sales Drafts and Credit Vouchers, CUSTOMER shall deliver to FDMS
              the originals or copies of.CUSTOMER's -Sales Drafts and Credit Vouchers In suitable form .for
              Imaging no later than seven calender-days from the date off the transaction; provided however,
              that`~CUSTOMER shall retain legible copies of Sales Drafts and.Gredll Vouchers for at least six
              months following the dale of each such transaction. lf the Schedules provideithat FDMS shall
              capture and store data reflecting Card transactions eledronlcally transmitted to FDMS,
              CUSWOMER. shall transmltto FDMS all data requiredto be included on Sales Drafts and Credit
              Vouchers (or CUSTOMER shall be responsible fcrzanydeflclencles in the data transmitted).
         16.2 lf the Schedules provide that CUSTOMER shall retain Images (bn microfllm.or otherwise) or
              legible copies of CUSTOtvtER's Sales 'Drafts and Credit Vouchers, CUSTOMER shall retain
              legible copies of Sales Dratts and Gredltvouohcrs for'-a period of at least eighteen months from
               the date of each such- transactlonl CUSTOMER shall -submit to SERVICERS a leglblecopy ofa'
              Sales Draft or Credit Voucher within 48 hours of a request by SERVICERS.               .
         16.3 Unless the Schedules provide~'that FDMS ls responslble for retaining records of CUS?TDMER's
              Card transaction data and CUSTOMER has actually dellveredto FDMS the applicable Card.
              transaction data containing all required information ln legible and smtable form forimaglng or
              electronic capture and storage (as applicable). CUSTOMER shall be responsible for the
              retrieval of all Sales Drafts and Credit Vouchers retluested by SERVlCERS within- the shortest.
              time llmlts established' by the, Association Rules. as. specified in the Operating Procedures. tnls

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                Bankcard Addendum, ar other notioe from SERV|CERS CUSTOMER shall not be relieved ef its
                responslbilily under the precedlng sentence for' any deficiencies In Card iransactlon data
                transmitted or otherwise delivered tb SERVICERS. even though FDMS.may agree loeapfure or
                produce images of, store.and.retrieve.any such Incompletedata on- 'CUSTGMER's behalf.

     17. Cash Payments by and Gash Dlsbursementeto Cardholders.
           CUSTOMER. shall not accept any direct payments from Giardholders for .chargescf rnerchandiée or
           services which have beenlncluded on a Sales Draft, It beingthe right of the Card issulng bank.~tc
           receive Buch payments. Taxes bn Card transactions must be included in. the amount charged and
           may not be collected by CUSTOMER In cash. CUSTUMER shall net make any cash disbursements.
           to a Cardholder as part of aCardlransacflon except to the extent expressly aulhorlzed. by cne or
           more-of the Schedules, the Oper:-1tlng:Procedures-or the.AssoclatlcnRules=..

     18;   Confidentiality.                                .                                  . .

                Issuing bank and Cardholder, CUSTOMER shall not use, disclose. sell or disseminate any'
                .Qardholder information obtained in connection with a Card transactlontlhcludlng .the names.
                addressesand Card account numbers ol Cardholders) except for purposes of authorizing.
                completing and .settllng=Card transactions and resolving.anychargebacks, retrléi/al rsouestsor '
                similar issues Involving Card' transactions; .other than pursuantto a court or governmental:
                agency request, subpoena or order; CUSTOMER shall use proper controls for and.snal| limit
                access tc, and shall render unreadable prior to~dlscarding. all records containing Cardholder
                account numbers and Card imprints..CUSTOMER must.not.:retaln.or storernagnetld stripe data
                after a transaction has been authorized. lf 'GUSTCDMER stores any electronically captured
                signature of a Cardholder, CUSTOMER shall notrreproduoe-'such signature except upon speoltic
                request of SERVIGERS.                                     .
           18.2 CUSTOMER acknowled~es that lt obtains no ownership rights ln.=anylinformaticn relating to and
                -derlvedfrom Card transactions. Cardholder account numbers. 'personal information and other-
                Gardtransaction information, including any databases ccntalnlngsuch information, may notbe-
                sold or disclosed to -a third party as an asset upon: a bankruptcy, insolvency .or tallure of
               .GUSTOMER's. business. Upon s bankruptcy, insolvency or failure of CUSTOMERls business
                all Card transactions information mustbe returned to SERVICERS or acceptable proof ol' the
                destruction of all Card transaction information 'must be provided to SERVICERS.

     19.   Supplies, Advertising.
           At CUSTCDMER's option and at charges specified from timeto time by SERVICERS, sERvlcl3Rs
           may furnish CUSTOMER with operational supplies such as the forms of .sales drafts, credit vouchers
           and Association decals (excluding any supplies for terminals or other equipment, which shall be
           CUSTOMER'S responsibility). CUSTOMER shall display VlSA,MasterCard and, If applicable., other
           Association decals and program marks on promotional materials furnished by SERVICERS, as
           required by Association Rules, bul .shall not indicate that V.lSA,MaslerCardorany other Association
           endorses CUSTOMER's goods or services and shall not continue using such materials after
           lermination of this Bankcard Addendum.

     20, Assignment.                         .                    .
           20.1 Any' transfer ar assignment of this Agreement by CUSTOMER without SERVICERS' prior
               written consent, such consent not to be 'unreasonably withheld,.~by operation of law or
               otherwise,.ls voidable. by SERVICERS. Notwithstanding the foregoing.. In the event that this
               Agreement is_. indeed, assigned .or transferred. by BUSTOM.ER, CUSTOMER must netlfy
               -SERVICERS, in writing. of such transfer or assignmentnof later than 15 days following -the
                transfer or assignment. SERV1CERS. shall have 60 (sixty) days frcm the date they receive-
                notice of the; transfer or assignment to review same. If SERVICERS. 'ln' their sole discretion,
                approve such transfer or assignment, CUSTOMER shell remain liable only for obllgations.-under
                this Agreement incurred up 'through the date of the transfer or assignment. whether such
                obligations are liquidated, unliquldated, fixed..continge.nt,..matured or unmatured. Tha'party- to
                whom the.Agreement was transferredor assigned shall be bound lo- the terms and conditions of
                this Agreement to the same extent as lf SERVKSERS and such assignee or transferee entered
               into an agreement identical to this Agreement on the effsotlvs date of such transfer -or
               assignment. lf SERVICERS, in their sole discretion, determine that they disapprove of any

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              transfer or assignment, SERVICERS may terminate this Agreement upon 15 days' notice to
              CUSTQMER and customER shall indemnify and hold SERVICERS harmless from all
              liabilities, Chargebacks. expenses, costs, fees and fines arising In connection with- such
              transferee's or assignee's, as the case may be, submission of Card transactions fo
              SERVICERS' for processing. SERVIGERS" failure to disapprove of 'a transfer or assignment
              wltnin 90 days of their receipt of notice of such shall constitute their approval. The approval by
              SERVIGERS.-of a transfer or assignment will not bemlnreasonably-withheld. Forpurposes of
             -this Agreement, any transfer ofvotlng contra! of GUSTGMER or.lts.parent shallbeconsidered
              an assignment or transfer -hereof; provided, however, that ln the event that GUSTOMER'S
              assets or shares -are transferred or allocated .among the Schnuck Family for succession
              purpcses; estate planning purposes or otherwise, lt shall not be considered an assl~nment
              -under this Agreement.
         20..2: Upon .notice te CUSTGMER, another VISA and MasterCard member may -be substituted for
              CPS! under wnose sponsorship this Bankcard Addendum ls performed. Upon substitution.
             .such other VlSA and Mastercard member shall. be responsible for .ell obligations required of
              GPSI. including -without limitation, as may be f9¥$l5resslV. required 'byappllcaple Association
              Rules. Subject to Association Rules, sERv1oERs. may .assign or transfer this Bankoard.
              Addendum. andrtheir rights and obligations hereunder and may-delegate their duties hereunder.
              in Whole. or in part, to. any third party, wnetner in connection with a' change in .sporisorshlpfas
              sei forth lm- the preceding sentence, .or otherwise, without the consent of or prior notice .to-
              GUSTOMER.
         20.2'Except as provided in theidlowing sentence, this Bankcard Addendum shall be blriding.upon
             permitted successors and -assigns .and shall inure to the benefit of the parties and-tnelr
             respective permitted successors and assigns. No asslgnea'=for the benefit of creditors,
             custodian, receiver, trustee in. bankruptcy, debtor In possession,     or an;/'other .officer of a
             court, or other person charged with taking custody of a party's assets er business, shall have
             any right to continue or to-assume or toassign this Bankcard Addendum..

     21. Term; Events of Default.                                       .
         21.1 This-BanKcard.Addendum and lhe applicable Schequles-shall become effective .upon the déle
          . this Bankcerd..Adclendum andthe applicable SGh8dUles are signed by the l9st.baity.heret6..
         21.2 The Initial term and -any subsequent terms ol -this; Bankcard Addendum,shall commence and
             shall continue ln force .as described .ln the. MSA.
         21.3 lfWany.of the fdllowlngevehts.el*\all. occur (eacn -an "Event OIDéfault"): .
             (1) a -material adverse change Sth the- business.. ilnanclal condition, business prooédures
                  produels. er senrlceszof CUSTGIMER which. in ServicerS~reasonabl.e discretion, increases
                   Sarvloers potential exposure- to-.CUSTOMER chargebacks. pr indicates thét CUSTOMER
                   may not be able to fully servlcelts ololigaitlons under this Barikcard AtidendUrn;..or
             (ii) any assignment or tranéfer 01' voting control of =eusTo1v1ER or its parent In violation of
                   Section 20 above; or
             (Ill) a sale ef all or substantially all..of cusromeivs assets. ur
              (iv) fraudulent Card sales by CL1S*T©MERt». orex'oesslve Chargebacksr Un Bxcess of 1.10% of'
                   trapsaciion or dollar voluma) which CUSTOMER fails to cure wlthln 30 days of revelpi of
                   no 1ce, or
              (v) .any representation or warranty of any Party In thls Bankcard Addendum is breached in any
                    material respect' and thebreechlng =1earty dces -not cure such breach within thirty (30) days
                    off the nombreaching party's notification to the breachlng pany of such breach, or any
                    representatlon or warranty of any Party In this Bankcard Addendum was' or ls incorrect in
                   any material respect when made or deemed to be- made, or
              (vi) either Party shall default in any material respect ln the performance or obsewance otany
                    term, covenant, cendltlen or agreement contained ln this Bankcard Addendum, including,
                    wlthout Ilrnltatlon Data~Securlty requirements as detalled -ln Sectlon 25, and, on the part of
                    CUSTONIER, the establlshmentor maintenance ef funds ln a'Eteeerve Account. as detailed
                    ln Sectlen22,, or .                                           .
              (vll) CUSTOMER shall default ln any material reepect ln the perfonmance.er.observance of-eny'
                   term, covenant dr cenditlon contained lnreny .agreement with any afflllate of SERVISERS,
                    tncludlng, but not llmlted to, any agreement goverhlng check guarantee or- check
                    verlflcatlen services and:Ct..lSTCMER does -not cure such default'wlthlnItnirty (30) days. ef
                    notice by SERVICERS of such default; or

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               (vlll) CUSTGMER shall default ln the paymentwhen due, 'whether upon maturity or otherwise,
                      of env material indebtedness .for borrowed money ln excess of ten million dellare
                      ($10.0o0.o00..oQ) and CUSTQMER does- not cure such default within- thirty (50) days of
                      notice 'by SEF:tVlCERS,of such default; or
               (ix) either Party shall: ccmmencee-voluntary case under the Bankruptcy Code, flle a petltlon
                      seeking to take advantage of any other laws-, domestic or forelgh, relating to bankruptcy.
                      insolvency. recr.gari`lzatlon, winding urf .or entry into a composition. agreement- .or -similar
                      arrangement tor :adtustment of debts; consent to br fail tb contest In .a timely and
                      appropriate' manner any petition med against tt in an -involuntary case under such
                     .bankruptcy laws pr other laws; apply fcrcr consent to, .or fall tn. contest in a 'timely and-
                      approprlete. manner, the appointment ot, or the taking ot possession' by, a receiver..
                      custodian. trustee, or liquldator of itself or of a -substantial part ot tts property, domestic or
                      foreign, generally become unable topay its debts or trade obligatlonsas theybecome due;
                      make 'a general asslgnmentfor the- benefit of creditors; ortake any corporate action tor the
                      purpose ot authorizing any of the foregoing; or                                        . .
               (X) e case or other proceeding Shall be commenced against any Party, ln..any court cf
                      competent jurisdiction seeking- relief 'under the Bankruptcy Code or 'under anyother laws,
                      domestic' or foreign, relating to bankruptcy, insolvency, reorganization, winding up or
                      adjustment of debts, the appointment cf'atrustee, receiver, custodian, llquldator orthelike
                      of Such Party, or of all or anysubstantial part of tne assets, domestic or'foreigh,.-of such
                      Party, andsuch case or proceeding shall continue undismissedcr unstayed for a period off
                      sixty- (60) consecutive days, or an order granting the relist requested in -such case 'ot
                      proceeding against such Pony (including, butnot limited io, an order for reliefiunder the
                      Bankruptcy Gods) shall be enteredf
               (xi) .the independent certined accountants' retained: by CUSTOMER shall refuse to deliver an-
                      unqualified opinion witn respect tothe annual financial.statements of CUSTOMER- and lts.
                      consolidated subsidiaries; or
               (xll) CUSTOMER does not provide its 'financial statement lf reasonably requested by
                    senvlcens pursuant to this Agreement.
                then. upon the occurrence of.(1) an Event=of.Der'ault specified In subparagraphs (iv), (vi), (lx) or
                (x) above. the noivdefaultlng party may termlnate tnls Banlgcard Addendum immediately,
                wltheut notice, and. all amounla payable hereunder by QUSTQMER to SERVIEERS -or'~by
               .SERVIGERS to CUSTOMER, as tharcaee .may be, Snell' be 'Immediately due and payable ln full
                without demand or other hotlce of any klnd, all of which are expressly waived by the=Partlea. (2)
                an Event of Default speclfied in subparagraph (xii), .SERVICERS may terminate ulJ<>D thirty (30)
                days notice. and (3) any other Event of Default, this Bankcard Addendum may bef terminated by
                the non-defaulting party by glvlng not less than sixty (60) days notlce (auch 60 days tn mn
                concurrently with any cure period associated with such default) to the defaulting Party, and
                upon such. notice all amounts payable hereunder hy CUSTGMER to SERVICERS' or by'
                SERVICERS to CUSTOMER; as the case may be, shallbe due and payable on demand.

       21 .4 Neither the expiration npr termination. ot this' Bankcard Addendum shall terminate the
             obligations and. rights pf the panles pursuant to provisions ofthls'Bankcard Addendumwhich hy
             their terms are intended -to survive or be .perpetual .or irrevtboalaleend such provisions shall
             survlvetheexpiration or termination of this Bankoard Addendum.
       21 .5 If any Event of Default shallhave occurred and be continuing. SERVICERS may. tn their sole'
             discretion. exercise att of their ngt-as and remedies .under.spplloable. lew,..ihcludlng, without
             limitation., exercising their rights under.Sectlon 22.
       21 46 intentionally deleted~                                                                      .
       21 .7 This. Bankcard Addendum also may be terminated hy SERVICERS-without notice or penalty, lf
              in their sole discretion, auch termination is necessary for' SERVICERS to comply with their
              obligations under any eppllcablelaw, rule or regulation including. but not limited to, the Qffice of
                Foreign. Assets Control .-(".OFAC") Regulations and Association Rules.                  SERVICERS'
             termination of this Bankcard;Addendum pursuant to this- Section 21.7 shall not be deemede
             breach of contract ny SERVICERS.
       21.8. If this Bankearcl Addendum ls terminated for- cause, CUSTOMER' acknowledges that
             SERVICERS may be required toreport GUSTQNlER's. business name and the :names-and
             other identltication of 'its principals to the Qomblnsd.Termlnetedtinerchant File maintained by

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             VlSA and MasterCard. CUSTOMER expressly agrees and consents to such reporflng In the
             event CUSTOMER ls lermlnated as a result of the occurrence off an Event of Defaulfor for any
             reasun specified as cause by VISA or Mastarfiard. Funhermore, CUSTDMER agrees to waive
             -and hold SERVIGERS harmless. from and againsl,.any and all claims which CUSTOMER may
             have as a. resun of sucn repqrllng-so long as such Event of Default has actually occurred.
       2=1.9.The provlslans gpvernlng procasslng and settlement af Card transactléne, :all reiated
            adjustments, fees- and other amounts due from CUSTOMER' and the resolution of any related
            ohargebacks, disputes or other issues Involving Cardtransactions will continue to- apply even
            after termination of this Bankoard Addendum, until all Card .transactions made prior to such
            termination are settled or resolved. ln addition, the provlslone of-Sections 43 through 18,
            Inclusive, 20,. 22,. 24 and 25, and Subsections 21,7, .21.9, 26.2 and. 26.8. all-ln -this Banltoard
            Addendum, shall survive any termlnatlon. Upondermlnatlon of this Bankcard Addendum.
            GUSTOMER agrees-to immediately send SERWGERS all the data relating to Card transaotions
            made up to the date of termination. which had not previously been sentto SERVIGERS.
      21.10 Aftertermlnetlon of this Bankoalfd Addendum for any reason whatsoever, GUSTOMER shall
            continue to bear total responsibility for all Chargebaoks, .fees.,. credits and adlustrnents resulting
            from Card. transactionsaprooessed pursuant to this Bankeartiixddendum and all other ernounts
            thendue or whichthereafter may become due to SERVICERS under this Bankeard .Addendum
            or may be due to SERVIGERS before 0r after eucn termination to either SERVICERS or any of
            SERVICERS' affiliates for-any related equipment or related servloes.




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        21.11 In the event that CUSTQMER fails to provide financial statements asfequiregl In Section. an of
              the MSA, &u¢h .actlon. shall constitute a "Termination Event"-and SERVICERS may terminate
              this Bankcard .Addendum lmmedlately. wlthout notice, and all amounts peyable hereunderby
              CUSTOMER to SERVICERS or by-SERVICERS. to CU$TOMER, as the case may be, shall be
              Immediately due and payable ln full without demand or other notice-of any kind. all of which are
              expresslywaived bythe Parties.

     22. Reserve Account.
         22 .1 Upon (a).the occurrence of an' Event of -Default on the pan of CUSTOMER or (b) the provision
              ot notice of termination. of this Agreement by any Party hereto or (c) In the event that
              SERVICERS reasonably believe that an Event of Default may have occurred. CUSTQMER _
              expresslyauthorizes SERVlGERS.to establish a Reserve Account pursuant lo the terms and
              conditions set forth In this Section 22. The inltlal amount of such Reserve Account shall .be
              determined-'ln SERVICERS" sole discretion but will not exceed the sum of (i) three =(8- months
              of Chargebacks, (il) one (1) months of credltslac]uetmenls, (iii) the value. of any Qeods and/or
              services billed in advance of fulfillment;             the amount of any fees or discount due
              SERVICERS and (v) the amount of any current-anti antlcipated=Asscciatlon fees or fines. The
              calculétlon df the portion of the Reserve Account associated wlth= current-and anticipated
              Association fees or fines will= be based upch SERVIGERS' reasonable and good faith estimate
              ot potential exposure' to' suchfees or fines taking into accountthe extent Qf the event(s) or
              actlon(s) precipeting such fees or tinesend SERVIGERS-pest experience, lf any, regerdlng the
              amounts assessed by the Association or as a result of\such events or actions. The calculation
              for the credits and Ghargebacks portion of the Reserve Account will be based upon
              CUSTOMERprocessing history and the anticipated risk of lossto BERVICERS.
         22.2 In the.éVer1t that the estébliswnent o£ a Reserve Accouht is required-in compliance wiih Section
              22;1 of this Bankcard Addendum, such Reserve Acccuntwill be fully funded Immediately. Such
              Reserve Account may be funded by all or any comblnatlen .of the following: (i) one 'or more
              debits to CUSTGMERJS Settlement Account or any other accounts held by 8ANK or any of its
              affiliates; (ii) one or more deducticns orvffsets to any payments otherwise-due to CUSTOMER;
              or (iii) CUSTOMER's delivery to eeavlcens of'a letter .of-credit; or (lv) .QUSTOMEWS pledge
              to SERVICERS of- a freely tlfansferable and negotiable certificate of depbslt. Any such
              certificate of deposit or' letter of credltjehell »be issued-or established by alinancial Institution
              reasonably acceptable to SERVICERS and .shall be ln a form reasonably satisfactory to
              SERVICERS. In the eventthat-SERVICERS opt to generate a Reserve Account ln either of tha
              forms outlined. ln (i) .or (ii) above; GUSTOMER may thereafter elect to replace .such Reserve
              Account with either of the Instruments outlined in (iii) or (lv) above and, upon receipt .cf such
              instrumenl(s), SERVICERS wlll prombtly return to CUSTGMER. any moneys tnen maintained In
              the .Reserve Acceunt =ln the form.of cash. Any Reserve Accpunt will be held by BANK for sixty
              (60) days .altertermlnetion of this Bankcerd Addendum or for up-to-ten'(1 0) .menths.ln~the event.
              that CUSTOMER has failed to ccmply with the.Data Security requiremente as outlined ln
              Section 25 -of`tnis Agreement. CUSTGMERWS-funds heldsih ~. Reserve Account mayzbe held In
              a commlngled' Reserve Account. for the reserve funde of BANK's customers, wifheur
              involvement. by en escrowagent.
         22.31lf GUS?|FON|ER*s funds in the Reserve Account are- not sqfficlehf 'to cover the Chargebacks,
             adjustments. fees andoiher charges due from CUSTOMER. or If 'the funds m ihe .Réaerve
             Account. havé been released, CUSTQMER agrees to promptiy pay SERWCERS such sums
             upon request. In the event of a failure by CUSTOMER to fund 'the Réserve Account,
             SERVICERS -may fund such Reserve Accuunt In the manner set forth m subsectitnm 2z.2,
             abové.
         22.4 In addition to any rights now o.r» hereafter granted under applicable law and not by way of
             limitation of any such rights, SERVICERS are hereby authorized by CUSTDMER' at any time..
             and. from time to time, without notlce or demand to GUSTGMER or -to any other-person (any
             such notice and demand being hereby expressly waived), to set off, reooup and io appropriate
             and te apply any and all such funds pertaining lo- the Gard transaqtlons contemplated in this;
             Bankcard Addendum now or hereafter in the possession -of SERVICERS against and dn.
             account of CUSTQMER's obligations 'to SERVICERS and their atflltates under this Bankcard
             Addendum, whether such obligations are liquidated, unliquldated, fixed, contingent; matured or
             unmatured.


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     28. lndemnifloation.
          23.1 In .addition to the indemnity °obllgatlons.~set forth' In $eotlon 4 of the MSA, CUSTOMER ~egreesto
               indemnify and hold harmless SERVICERS from' and 'against all- losses, liabilities, damages' and
               expenses (including attorneys' fees and collection costs) 'resulting from any :breach by-
               CUSTOMER df any warranty, covenant, provision of this Bankcerd Addendum or any-
               misrepresentation by CUSTOMER under this Bankcard Addendum, orarising solelyand directly
               out of any gross negligence or willful misconduct of CUSTOMER, its-employees, or agents-In
               connection. with GUSTOMER's Card transactions or otherwise .arising from -CUSTOMER's
               provision ofgoeds -and services to Gardholders.
          2342 ln addition to the indemnity .obligations setforth in Section 4 of the MSA, SERVIGERS agree to
               indemnify and hold harmless CUSTOMER from -and a~alnst all losses, liabilities, damages and
               expenses (including attorneys* =l'ees and collection costs) resulting from any breach by
               SERVICERS of any warranty, covenant or 'provision of this Bankcard Addendum or any
               mlsrepreserit~tion by sem/1oses. under this Biankcard Addendum, or arising solely and
              directly out of -any .gross negligence or willful mlecoriduct. of SERVICERS, -its employees, or
               agents .ln connection with SERVICERS processing of Card transactions or any services
               provided pursuant to this Bankoard Addendum.

     24. Liquidated Déxmages.
         24 .1 The parties further agreeand acknowledge that, In addlticmtc any remedies contained herein or
               olnenulse available under applicable law- and, notwlthetahdi'ng. anything -to. the contrary
               elsewhere In this Bankcard Addendum, rf (a) GUSTOMER. breachesthlsBankcard Addendum
               by improperly terminating.: il prior to the explratlcn of the applicable. term ef the Bankcard
               Addendum,or (lc) this 'Bankcard-Addendum-ls terminated |:irlor te the expiration af ttieapplicalple
               term of tne Bankcard Addendum in accordance with, and due to. an Event~of default by
               CUSTOMER specified ln- subsection 21 .3, then eERv1.cERs will sufier- a substantlal`lnjury that
               is difficult or Imposslbleto accuratelyestimate. Accordingly, ln an eftort lo liquidate Inadvance
               the sum that should' represent the damages which would actually-be sustained by SERVICERS
               as the result gf such a termination, the parties have agreed that .the amount calculated in the
               manner specified below ls areasonable pre-estimate of SERVlCERS' proba'ble less, which ehall
               be paid tc ssavrcerts as liquidated damagee ln the event of any sucn terriilnatlcn. .Any
               recovery pursuant lothls Section 24 shall ln no way lirnlt SERVICERS' right lc receive any
               payments due from GUSTO.MER=pursuant to Section. 14. Sucn liquidated damages sliall be
               paid to SERVICERS within ap days after cusromaws receipt of SERVICERS' calculation of
               the amount due. The liquidated damages amount snail equal 80% -cf~tne.product of (1)'the
               average net monthly"fees. as determined in accordance with subsection 24.2, and gn)che.
               number of months, including any pro rataportion of a month. then remaining inthe initial term or
               any renewal term, as-applicable.
         24,2 The average' net monihly fees shall eqiual one=iwelfth of the gross fees payable pursuanrto the
               Schedules, less applicable interchange fees -and assessments due pursuant ld -this Bankéard
                Addendum, during the 12.. months lmmedl8tely preceding the date on which (i) SERVICERS
               receive. notice from CLISTDMER cslits intention td lermihale fhls Bankcard Addendum early, or
                (ll) SERVICERS learn of CUSTQMER's early termination ln violation of this Benkeard
                Addendum, or (ill) this Banhcard Addendum is termihieled early pursuant. to subsectlbn 21.3.
               (whichever produeesthe higher amount), .provlded', however, if lhe Bankqard Addendum has
               been in place less than 12 mclntns, théesllmated .avevager mei monthly fees shall equal the
                aggregate gross fees pald hereunder by CUSTCMER, d vided' hylhe number of-mnnlhs the
               Bankcard Addendumwes effecllve.
         24.3 Llquidated Damages as defined herein. shall not; apply toanyAutomatic Renewal Period.

     25. Data Security.
              Per the terms of this Bankcard Addendum. CUSTOMER is required' to follow the Operating
              Procedures and comply with Association Rules asr they may each be amended from time to
              time. The Association may impose different compliance requirements on different types and
              levels of customers. The Association may impose restrictions, fines, or prohibit CUSTQMER
             -from participating in Association programs lf lt ls determined CUSTOMER~lsnon-compllantwlth
              such programs. CUSTOMER understands that lt must be In cempllance with data security
              regulations for its type or .level of customeres defined by the Associations security procedures-
              as well as comply with general security procedures. sEr'<v|cERs will endeavor to provide

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           CUSTDNIER with amended operating procedures outlining the various. Association
           requirements with regard to Data Security, and other matters,. pursuant to the terms of the
           Bankoard Addendum, however. CUSTOMER understands and acknowledges that' it is solely
           the responsibility ofGlJSTC9MERto maintain compliance with all Association PCI Data Security
           procedures and regulations, and to pay any and all fines levied by the appllcabla Association for
           its non-compliance.. whether or not SERVICERS -provide to CUSTOMER the amended.
           operating procedures.

           GUSTGMER also understands and atxknuwledges that ll; Is .solely respenslble for. the
           compliance of any and all lhlrdpartles (lnclucllng but not llmlted ioInlernél Sen/lce Provlders)
           lhatare given aqcess by GUSTOMER, ta QUSTCTlVlER's cardhélder data. and fo.r.any lhlrd party'
           POS VAR soflware thaY~CUSTOMER' may use. CUSTOMER further acknowledges lhal ll ls
           CUSTO|VlER's responsibIllty to Inform SERVICERS of any of cusTQMER's third pany
           provlders lhal are given access by CUSTOMER lo CUSTOMER's cardholder data.
           CUSTOMER also aéknowledges' that lt is. CUSTOMER'S'dl.|ty to natlfy senvrcsns cf-any dale
           securlty comprqmlae and lo conperate and assist SERVICERS in any subsequent lnvesllgatlon.

           In the event df any data security vdmprqmise, SERVICERS may in their sole- discretion,
           suspend or terminate card processing services. underthe B8nkcard=Addendum.

           SERVICERS will comply wlththe applicable Association Rules,.which Includes PCI Stamiafds.

            To the extent that SERVICERS receive, maintain, process, create, Store, or otherwise have
            access to any Personal lnformatlonin connection with its performance of this Bankcard
            Addendum, in addition to and without limiting any other confidentiality obligations set forth
            herein, SERVlCERS: tal shall comply with all applicable Prlvacy Laws; and (b) shall access,
           use, and disclosethe..Cardholder Data and Porsonallnformatlon onlytor the limited purpose of
           its performance of this Bankcard Addendumr.

           In connection with any Cardholder Data and Personal Inforihatlon received, maintained,
           processed. created, stored, or otherwise accessed by SERVICERS, SERVICERS- -shall
           Implement and maintain (and. update as necessary). an information security program with
           appropriate administrative,technical, and physical safeguards, lncludlngwithout limitation, data
           back-up, data integrity, record retention, -and Incident response policies endr procedures,
           continuity and' disaster recovery, plans, procedures. capabilities and facilities that are.1all.oredto
           andfHPPmprlate for the -nature andcomplexity of the.Services to be provided by SERVICE-RS
           hereunder. and othervvlse deslgnsd.to.tl) ensure the security andconfldentlality d the Services,
           the Cardholder -Dafa and Personal information and ;.(ll) protect against any anticipated threats
           or hazards to the security or integrity-ofthe Cardholder Data and Personal information ;. and (lll)
           protect aoa1nst unauthorized -access to or use of the Personal lrtforrt'iatlbn,_ that could result ln
           substantial harm or inconvenience to CUSTOMER. or itsnustomers..

           Securitylncident Notlfifcatlon.
           SERVICERS will evaluate securlty=rei'ated el/enté :lh accordance wltli Its lhcldent response
           processes and procedures lo determjlné-whether aSeuurlty lncldenl has. ocsurred, Including'
           (a) Assessing the nature and scope df the security~rela\ed events; and
           (b) Promptly conducting an investigation to (lj determine whether unauthorized access 'to the
           PROVIDER System .or any CUSTOMER's Cardholder Data and Personal information has
           occurred and. if so, Identify which systems and types of Information have beerlaooessed, and (ii)
           determine the likelihood that either (A) the.informaiiom. has been or win be misused.. or (B) the
           unauthorized access could result. in substantial harm or inconvenience to -a Cardholder of
           CUSTOMER.
           If SERVICERS determlnes. that a Securlty lncidenthas occurred, SERVICERS Wlll promlitlyz (8)
           nettfy CUSTOMER af the- material details of the Security lncldent thet are known at the time, of
           notification, subject to a request by law enforcement or other government agency to wlttihold
           such notice,: and (b). take stops to contain and control the Security Incident to prevent funher
           unauthorized access to-. or mleuse of the information and will continue to prcvlde Information

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             relatingto.Ihe. Investigation and resolution of the Security lri.eIdent.until SERVlCERSdeiermlnes.
             that the. Security Incident has been resoli/ed.
    26. Miscellaneous,
         26.1 nf CUSTGMER requests 'FDMS to perform or prqvfde any system enhancements; custom
             reports. or related service enhancements that ere different from or .ln .addition to the -system,
             services and reports.FDMS otherwise agree Io. provide to CUSTOMER (collectively, "System
             'Enhancements"). FDMS wlll use reasoneléle efforts to prevlde sudn System-Enhancements lf
              CUSTOMER. pays FDMS the additional fees charged by FDMS for such System
             Enhancements. Following receipt cf any requesttor System' Enhancememts..and prior to
             providing the requested System Enhancements, FDMS -shall provide CUSTQMER with a
             description-of-the System Enhancements to.be made. to~ether with an estlrnate ef FDMS's fee
             for providing auch System Enhancements. lf -CUSTQMER thereafter' instructs FDMS- to make
              such System Enhancements, FDMS Shall do so. end CUSTDMER shall pay the eddltl0nalfees
              cnerged by FDMS for such Syatern Enhancements. Any System Enhancement provided
             hereunder shall be .solely the property of. FDMS =and shall not .he deemed works for hlre,
              provided, however, FDMS herehy .grents lo CUSTOMER a perpetual fully peld~up,.wodd~wlde,
             royaltyfree licenseto the System Enhancement
         26.2 The notlceaddress for FDMS shall be: 1307 Walt Whitman Road. Melville, New York 11747,
              Facsimile (631) 682-7516\ Attention: Executive- Vlce. President Operations, with a copy to
             Attentlk>n' General Ctounsel's Dftlce at"3975"NW 120""Avenue, Coral Springs, Florida 33065,
             Facsimile: (954)845¢5550, and if to CPS! at Four Parkway North, 4th Floor, Deerfield IL; 60045,
             Attention: President, with a copyto General Counsel, 1 Court Square. Long Island City. NY
             11120.
         26.3 This Bankcard Addendum, along with the Master Services Bankcard Addendum any Schedules-
              and the Operating Procedures, constltutes the entire- agreement between the parties with
             respect to the subject matter.
         26.4 The parties acknowledge that the VISA and MasterQard Association Rules give VlSA and
             MasterCard certain rights to require termination or modification of this Bankcard Addendum with
             respect to transactions involving VISA and MasterCard Cards and 'the VISA and MasterCard
              Card system and to investigate CUSTOMER. The parties also acknowledge that issuers of
              other Cards. for which SERVlCERS perform services on behalf of GUSTQ.lVl.ER, may have
             -similar rights under -their applicable Association Rules with respect to. this Bankcard
              Addendum's.applicability-to transactions involving such other Garde.
         2e.5.cusroMER acknowledges and agrees that any of Information obtained by SERVKYERS may
              be shared with SERVICERS' affiliates, who have a need=to-know, ln connection with- the
              provlslon of other sewices provided to you by SERVICERS, as long as the afllllates are under
              obligation to treat such information with the same degree of care as required of SERVICERS..

    27. Trensltlon.Asslstance                                               ..                    .

        Unless CUSTGMER requests otherwise. in the event of. termination of this Agreement by either
        Party, senvtoees shall. provide the2fo|lowln9.Trensltlort Assistance (defined below) foraperiod of
        up lo one-huitdred eighty (180) days tollowln~ the date of .termination (Transition Period").
        SERVICERS wlll perform the terminated or expired Services ln accordance with .the terms of this
        Agreement, Including the Service Levels -set forth in Attachment v attached' heretm and provide to
        CUSTGMER- any and all assistance 'reasonably requested by CUSTDMER tofaollltate the orderly
        transfer of responsibility for the terminated or expired Servtces..to one or. more successor service-
        providers (collectively., the "Transition Asslstance").. SERVICERS acknowledge that the continuity of'
        the Services is critical to eusrotviea and SERVIQERS -agree to comply with ine ~other .obligations
        set foM in this Section regardless of whether' the Agreement was terminated by cusmomele or
        SERVICERS, provided, however. 'If -this Agreement le. 'terminated by-eERvleEl=<s as a resultof
        CUSTOMER's uncured Event -of Default. then the- Transhiorr -Period shallbe reduced from .ene-
        hundred eighty (1-80) daysfte oneahundred twenty (120) days. Notwithstanding. the foregoing,
        SERVICERS. shell have no obligation to provide the Transition-Assistance. li ta) en' Event of Befault
        has transpired and such default is related to CUSTOlVlER's material data security -compromise and
        -an. Association prohibits.SERV|CEFtS from providing services to theCUSTQMER, or gb) therehas
        been a violation of applicable Ilaw and, as a result. a regulatory or governmental .agency prohibits
        SERVICERS from providing services to the CUSTOMER, or (c) CUSTOMER fails to fund any
        reserve account as required in Section 22 of this Agreement.

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     28. Visa and NlasterGard Disclosure
         Member.Bank Informatioh: Cmcorp Paymenx'Serviees, lnc_

           The Bank's mailing addmss is Four.Pafkway Niifthi 4* Wloor, Deerfield IL,6001 5
           and Its phone number is-847-597-3000.

           Important Member Bank Résponsibilltles               Important Merchant Responsibilities
           (8) The-Bank is the only enlity= anproved to extend (ta) Ensure compliance with Gawholder data
                acf>eptan¢e- of Visa and Nlasl9rCard produéts     . security and storage requirements,
               directly to a Merchant.                         (H) Maintain fraud and chargebaeks below
           (b) The Bank must be a- principal éslgner) to the      ..Association thresholds.
               Merchant Bankcard. Addendum.                    (c) Review and understand the terms of 'the
           (c) The Bank ls responslblefar educating Merchanlé       Bankcard Addendum.           _
               on 'pertlnenl Visa and MasterCard Rules wlth (d) Camtily with Bankcard Association rules.
               whiéh Nlenihants must comply; hui. llils
               .informationmay be pmvlded ta you by FDMS.
           (d) The Bank Is' responsilgle for and must prpvlda
               settlement funds to the Merchant in accordance.
                with the termsfof the Bankcard Acjdendum.
           (e) The Bank is. reSpon§Ible for an funds held in
                reserve. thaf are derived from seftlement.



     THIS BANKCARD ADDENDUNI IS. NOT BINDING UPON SERVICERS UNTIL SIGNED BY
     SERVICERS.                                "gff**
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                                                           




     SCHNUCK MARKETS, IN8;                                           CITICORP PAYMENT SERVICES. INC.
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     FIRST DATA MERCHANT SERVIGESCURPGRATIDN
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                                                       ANNEX1

    The fdllowing 'terms sh~ll haveslhe. follnwlng _meanings lsunh meanings td 1119 equally applicable tn- both
    .the.slngular and plural fc->l'ms.of thelerms deflned):

         1.1 "AssoQiatIon" means any entlfy .fbrmed to administer and promo@e~Gards, including v|SA
              Interaiatwnal a\f§d. MasterCard 'International Incarporated, and anyf appllcable debit nefworks.
         1.2 "Assonlatlon Rules" mean the rules; regulafions releases, interpretations and other
              requirements (whether contractual or cthervvlseyimpceed-cr adoptedby any Association.
         1.3 "Authorization" means the rocess by whlch~GUSTt9MER electronically accesses 'SERVlCERSf
              computerized. system.. unless such.- system ls. incperable =or otherwise not -accessible-"td
              CUSTOMER; In which case CUSTOMER..ahall utilize the designated toll-free 'telephone
              number, to- obtaln.credlt approval from the Card issuing bank Uefcre 'completion of the Qard
              transaction..
         1.4 "Bankruritcv Code" means title 11 of the United States Qodmaszamendedifrcm timeto time.
         1.5 "Business Daif' means a day (other than Saturday or Sunday) -cn' which SERVIG-ERS are
              generally oben for business.
         1.8 "Card" means a valid credit card or valid off-line debit card bearing the service mark of VISA or
              MasterCard and, to the- extent the Schedules so provide, a valid card Issued by any other
              Associations specified on such Schedules.
         1.7. "Cardholder" means the individual whose name is embosSed on the Card and any authorized-
              user of such Card.                                                 .

         1.8 "Cardholder Data" has the meaning provided for ln the PCI DSS. and includes primary account
              number, cardholder name, service code, andexplratlen date.
         1.9 "Chargeback" means' the procedure by which a Sales Draft or other indicia of a Gard
                transaction (or disputed portion thereof) Is returned -to -SERWGERS by theCard .Issuing behk.
               CUSTOMER must comply with the Association Rules,. and is llable far all .Chargebacks and
               related costsarising from CUSTC>MER'e transactions.
         1.10 "Charueback Percentaee" means the ratio of overall Chargebackdo-settlementvolume.
         '1.1'1 "Credit Voucher" means ine evidence ot a refund or prloe adjustment by' CUSTOMER to a
                Cardhold.er's Card account .ln connection with a prior purchase bysuch Cardholder using .a
                Gard, regardless of whetherthe form of such evidence is in paper, electronic or otherwise.
         1.12"CUSTOMERe Chamebeclg Percentage" means the .actual monthly percentage calculated by
               dividing <:usTolv|ER's total monthly VISA and 'MasterCard Chargeback Items .in any-llne ot
              business by the number cf GUSTOMER'stotal monthly VlSA and' MasterCard transactions in
               such llne of business.
         1.13 "Dperatind Procedures" means the.tlaen~current manual prepared ey SERVICERS. containing
               operational procedures, instructions and other dlrectlvesreteting td Gard transactions.
          1.14,'Personal Information" means any personally.identlflablelnformation relating to Cardholder
                Data under this Bankcard Addendum.
          1.15 "Preauthorized Order" means a Cardnoldens written authorization to make oneor morefuture
                charges-to such Cardholder's MasterCard Gard account.
         1.16 "Privacy Laws" include any applicable federal or state laws, rules or regulations relatlngte the
               privacy, contidentlallty, handling, storage. data export, disposal, andlor safeguarding of
               customer, employee, financial, or other personal information, records, or-data, including without
               limitation, (i) the Gramm-LeachBllley Act (15 U.S.C. § 6801 et seq.)1 (ll) the Fair Credit
               Reporting Act (15 u.s.c. § 1681 el seq.), (lll).Ihe Falr=and Accurate Crédit Transactions Act df
               2003; and (iv)-all federal and state data security breach notification and incident response laws
               and regulations.                                                       .
         1.17"Ré.eurri.ng_ Sale" means a Cardholdefs written authorization to make one or more future
               charges to such Gardhclder'sVisa or other=non-Mastsréardfiard account.
         1.18 "ReeerveAcccunt" means ~a fund eislatilished and .managed by SERVlCERSto protect anainst
               actual or contingent liability arising from Chargebacks, adiustments, fees- and other chargeedue.
                tc or incurred by SERVICERS;                                                             .
          1.19"Sales -Draift" means evidence. -of a purchase of goods cr: services by a -Cardholder from
               cusmmen_ using a Card,. regardless nf whether the form of such evidence ls. in paper,
                electronicor otherwise, all 0fw1ch .must conform to Association Rules.


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       1.20 "Schedules" means the -attachments, addenda and other =documents, including revisions
            thereto. which maybe incorporated .lnto and made panof this .Biankcard Addendum,
       1.2.1 "Schnuck Fam|Iy" means (i) any lineal descendant pf Donald Sohnuch or Edward Sohnuckiwho
             are the'father and uncle* respectively, Qi the current five members of the Board of Dlreclomdf
             theBorrower),' (ll) the spouse or feMer spouse =of Donald Schnuck, Edward.Sennuck or any Qf
             their linealdescendants, (ill) anychild ofeny~epouse1of~a lineal desoendant uf Donald Sdhnuck
             dr Edward Scnnuck and (lv) any trust, the benénclarlee of which are any oneor more of the
            individuals desorlbedln the preceding clause. (I), (il),     or (lv). For purposes of this dehnition,
             an adQpted child shall be conelderw a lineal descendant.                                           _
       1.22 "Security Incident" means an lhcldentconflrmed by SERVICERS or 'a forensicrauditoi selected
             oy SERVLCERS, ln which Cardholder "am is accessed or used without authorization .as a
             result of a compromlse~~df platforms and/or ..systems utlllied by .PROVIDER 'ta process
             CUSTOMEWS transactions, including without limltatlon, authorlzatlon, settlement and'
             chargeback olatforms and/or systems.
       1.23 "Sewices" means the activities undertaken .by SERVICERS to authorize, processand senleall.
            United States Dollar denominated VISA and Mastercard Card transactions undertaken .by
            Camholders at C.USTOMER's.locatlon(s) in the United States. and allother activities necessary
            f9r;SERVlCERS to perform the functions specified .on the Scheduleslcr all other Cards coymed
            by this =Bankcard Addendum».
        1.24 "Settlement Account" means an account et. a financial Institution .designated--by QUSTOMER
            as the account to be debited and credited by SERVIC-ERS for Card -transactions. fees.
            Ch ~rgebaoks and other amounts due hereunderor in connection herewith (i.e., llnes,.penalties,
            attorneys' fees, etc9).




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                                  Schedule A
                                  FeeSched.ule




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                                                          ATTACHMENT I


                                                              1-35 Farst Data
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 Provldnd by Firm Dnlo Muf cmnt 54°rvlcrs Qofpurallrsn


 Visa I MasterCard Interchange Rates for Supermarkets (Includes Fuel)
 Interchange rates consistof straight.pass. through fees, dues and assessments

  Effective April 15, 2011




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                                            Attachment ll to Sahadu!e.A
                                             Gther Card Services

     This Attachment II to- Schedule -A. supplements the, Merchant Bankcard Addarrdum (the ."Banl<card
     Addendum") towhlch ltls attached=and sets farth the terms applicable to 'FDMS provision of the spienmed
     sen/icesfor the-Card. transadllons.-Issued-by theéntltles set fqrlh below:

     Am8¥-\C8nEX(|'e5$           X                   JCB                     svs Gift Card          x
     Diners Club                     D!SQOV6l'j               Braekwawk            x

     The Card ISsuing' antitles sélected. above are -collectively refenred to, as ("|ssuer")- Mnlqss cthevwise
     specified in this Attachmentll.

     1. FEES'




                                           R9;§§M@""VW




     2. GENERAL: Gdstorner understands and acknowledgesthaIFDMS' sqfe responsibility with respect to'
     ISSUERCard transactions shall be -to provide theservices Specified ln this Attaqhment.

      `In the event'Custcmer has a separate Issuer Agreement with a- respective issuer, all .Chargeback. and
     'fmanclal obligations lneludlng but not limited. tofees and issues related thereto Sha!! be governedfby the
      terms of such Issuer' Agreement; Notwithstanding the fcregolng, in the event. FDMS Is. prevldlng
      settlement 'sewiees for Diners Club- and/or JCB trensacticns FDNIS..shell be responsible for providing
     'such services pursuant to the terms of the .Etankcard Addendum., Customer shall comply with 'all terms
      and conditions of the Issuer Agreement and 'the applicable rules. tegutetleris, Interpretations and other
      requirements of the respective Issuer and shall not seek authorlzatlon for or 'submit for processing or
      settlement hereunder any=lssuer Card transactions- at .anytime when Customer does nothave. in effect a
      valid Issuer Agreement with such Issuer. Customer agrees to notify FDMS. Immediately upon the
       termlnetlcn- of any Issuer-Agreementto which is.is a party. Upon such termination. FDMS shell have no
      further obligations hereunder to provide any services to Gustomer with respect to any transactions
      involving such Issuer-Cards.


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    In the eventCustomer does not have a sépénate Issuer Agreemént with a- respectivéz Issuer. Qhe Issuer
    Cardservices to be- provided hereunder shall be In accafdanoe with the terms at the. Bankcard Addendum.
    and this Attachment.

     3. ISSUER CONSENTS:

    .Customer shall be responsible for obtaining any operational consents réquiréd of~lssuer to comply witti
     procedures or practices contemplated by both Customer and FDMS under this Bankcard Addendum.

     4., AUTHQR|ZA1'|0N SERVICES ONLY'

     In thsevent FDMS is providing authorization services onlyfor lssuer.Card. transactions as specified
     herein, Customer shall seek such authorization through FDM§. In the event thatFlDMS- lsnot providing
     processing services for. lssular Card transactions as specified in this Attacitmeni. Gustomer shall be-
     responsible for processing and submitting directly to the applicable issuer for .settlement of Such Card
     transactions.

     5. PRQCESSING AND SUBMISSION TO ISSUERS:

     In .the event FUMS. is providing processing-services for Issuer Card transacl;lorts as/.$peqlfled herein,
    'Customer shall submit. to FDMS for processlng all of Cuatomeru Issuer Gard lransaalinns and FDMS
    .shall process such transactlons and transmltlhem electronically w the applicable Issuer with.-a summary
    of such Card lrahsactlons.

     FDMS does not warrant or .péar.responslbmty for thepariarmance ofany issuer ln any way..                   .9M4 $\%
                                                                                                                                 'a




     First Data Merchant- Services Gorporailon      Schnuck Marks i Inc
                                                     (CUSTOM                                                                          :

     By:                                              By,.
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                        CWM/M8.
                                                                                                           "'f -M ..  XZ  sr
     Name:     F/9"VL                                Name: Scottfl Schnuck'

     Title:   fi/f                                   Title; Chainmazmnd C.E.0.
     Daté:    ./8*/cu "/'/                           Date: Qciolwerii. 2011




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                                                       Attachmenflll
                                F|RS'|1DA1'.A..N|ERCH.ANT senvfces CORPORATION
                                          DEBIT TRANSACTION ADDENDUM


     .Customer understands and agrees 'that First-Data MerchantServices Gorporation ("FDMS") isthe senvioe.
     provider for processing Customers debit .card transaotions ('Debit SeNices"), pursuant to the terms
     herein. FDMS will designate a bankthat is' a member of the debit network ("Debit Nework BanK').

       1..   Until and unless otherwise. authorized by FDMS. Customer agrees to utilize FDMS compatible
             terminals/PIN pads or systems capable of propesslng all on-line debit card transactional and to
             plaoethem at its merehant locations. FDMS hereby eoknowledges and agrees that the terminals/
             PIN pads Customer has installed at its looatiens as of the.Effectlve date are FDMS compatible. As'
             between FDMS and Customer.. all software residlnl-on these terminals or systems ls.the sole
             property-of FDMS. Any software residing ln Customer-ownedterminals or .systems must be FDMS
             compatible. FDMS- hereby acknowledges and agrees .that the software currently residing ln
             Customer-owned terminals br systems .as of the Effective Date are FDMSE compatible. Cust0mer's
             placement- of the terminals-or system -al its merchant locations shall constitute acceptance of all
             terms and conditions set forth in this Addendum. Customer understands and agrees- that neither
             FDMS nor BANK bear any respcnslbllltywhetsoever forCustomers-owned inoperative.term.lnals or
             systems (or software if applicable). ln the case of an inoperative terminal or system Customer shall
             consult ~Customer's warranty, or terminal maintenance addendum.. as applicable.

       2. Customer agrees to submit all deblt card transactions and. to abide by all applicable rules and
             regulations- df the applicable Pin Debit card network(s) selected by Customer bn the attached
             Application. Customer agrees to hold FDMS and Debit Network Bank harmless from any and all
             claims, actions. proceedings .and other liability which may arise. pertaining to such debit
             transactions. In no event.-shall FDMS or Debit Newark Benkzbe liable for special, consequential or
             exemplary damages, 'Including lost protltsuevenues and business opportunities.
       3, Customers understexnds that It is granted a nomexcluslve, non-transferable, limited sublicenfse to
             use the service mark(s)`-of those POS networks that Customer participates- in accordance with the
             rutes of the appllcat>le.debit.networks (each a "Prbtected Mark"). Custdmershall hétre-no pqwer,
             right or authority to transfer, assign 'or license any tights in or to 'the use of any .Protected Mark,
             Customer will not at any time db orcause to be done any ect or deed ln any way impairing or
             intended lic impaiif a POS ~network's exclusive right, title and interest ln and to its Protected.-Merk.
             Gustumer shall permit FDMS or Debit Network Bank at all reasonable times, to lnspecttne
             Customers use of the Protected Mark. and shall, gupon request, provide samples of CustL<>mer's use
             nf the Pretected Mant In advertising or othervvise.Tor.review.

      4. Customer understands and agrees. that the Debit Services are being provided by FDMS and not
             Debit Network Bank, and therefore Debit Network Bahkshall have. no llablllty whatsoever regarding
             the Services provided. by:FDMS.

      5. Upon notice to Customer. another debit network member may be. substituted for Debit Newark
             Bank under whose Sponsorship this Agreement -is performed.. Upon substitution, such other debit
             network member shell be responsible for all -obligations required of Debit Network Bank, 'including
             without limitation, as may be expressly required by applicable debit network rules. Subjectto .debit
             network rules, FDMS and Debit Network Bank may assign or transfer this Agreement and their
             rights and obligations hereunder and may delegate theirduties hereunder, ln whole or in part, to
             any third' party, whether in connection. with a change ln sponsorship, as setforth ln the preceding
             sentence, -or othenwlse, without the notice to or consent-of Gustomer;

         Except as provided in the following sentence, this Agreement shall bs binding upon permitted
         successors and assigns and shall inure 'to the benefit of the .parties and their respective permitted
         successors and assigns. No assignee ;for the benefit oi creditors, custodian, receiver, trustee' In
         bankruptcy, debtor In possession, Sheriff or any other ofticér of a court, or other .person charged with
         taking custody of a party's assets or business.. shall have ony right to continue or to -assume or to
         assign this Agreement.

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      e. Customer funher understandsthat any el-aims It-may 'have .regarding the Debit Servicesméy ncif be
         offset against mn PIN Delait sales.

      7. Customer assumes- all responsibility for paper copy of debitGard transactlbns, pursuant-to tlié
         appropriate debltcard nerwork rules.

      8. Within one (1) business day of the original transactlon. Customer-must balance eaoh.locatlonto the
         FDMS system for each business day that -each lucatlon Is open. If Customer determines 'that
         transactlon(s) have been-proceseed in error, Customer will Initiate the .appropriate-transaction for
         adjustment to correct the. transaotlon In question. Customer ts responslble for all applicable
         adjuetmentfees per appfqprlatedebll..card network;

      9. Cusiomer shall ba fesp0nsiblef0r all telaphbne message Mn!!-posts, if any, as they are incurred by
           Customer forEny of the servlées.prQv133e¢ll

      40. The résponslbility far the Instaliafionpf and tcalnlngln tire use offermlnais..shall be denendent Upon
          the type of equipment or system- being utilized by Customer.

      11, FDMS shall settle debit card transaction proceeds to Customer daily, 'via a deposit to Customer's
          Settlement Account. An such 'settlements to Customer will notbenet of adjustments, network fees
          or Senvicers' fees. Sen/icers shall invoice Customer monthly forall -such fee; and deblt=Customer's
          Settlement Account monthly in the amount of such lnvoloe. Notwithstanding the foregoing, FDMS'
          reserves therlght lo change the process at anytime duringthe term of this Agreementwlth 30qlays
          prior notice to Customer, to settle deoit transactions deity based on gross selesnet of applicable
          interchange, network switch fees, .and adjustments feest

      12. The fees for the PIN Debit network. used to process your transaction wlllf be applied. Which PIN
          Debit Network WMI be used will depend upon the availability of the network at the tlmeof the
          transaction, wnether a particular PIN Deblt Card ls enabled for a panloular network, the routing
          requirements establislwed by the networks and the card issuers, orother factors. You agree that we
          may, at our sole dlooretlon, utillze any P.lN Debit Networkavallable to us for a glven transaction;

       13. Customer shall be .resporislble for the following debit related fees:



     General Prlclnq Information:
        1. Blllable transactions Include: purchases, returns, declines, reversals, and authorlzaitions.

         2. Thepum Debit Network transactions Include authorIZation, settlement and sponsorship.

         3. The fées and charges set forth on.thls Schedule are In addition to all other third party fees and all
            fees due and payable to Servioers andlorany applicable third panty, will be collected by Sewloers-
            as set forfh ln fha Aglteement. In addition. Customer will also be-chargedlhe network fees onia
            per transaction par networkbasIs. pursuant to Section 11 r above.

     BUSTCJMER AGREES THAT T=HE ABOYEREFERENCED NETWORK FEES ARE CONTRGLLED BY
      SA|D NETWORK(S) AND ARE SUBJEQT m CHANGE.'BY THE NETwQRK(s) AND THEREFoR& To
      THE CUSTOMER. AT ANY Tnme;                SERVICERS W ILL USE COMMERQIALLY REASONABLE
      EFFORTS To NOTIFYCUSTUMER pR|0R.T0 ANY EFFECTIVE CHANGE.




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     NOTWITHSTANDING -|=HE ABOVE, QUSTGMER WILL BE GIVEN WRITTEN NOTICE 1H\RTY~'[)/W$
     BY SERVICERS PRIOR TO OTHER CHANGES IN FEES. CUSTOMER AGREES TO GOMPLY WITH
     ALL APPUCABLE FEDERAL, STATE AND LOCAL LAWS APPLICABLE TO DEBIT TRANsAcTsoNs.
     CUSTOMER ACKNOWLE 'SES THAT DEB|T TRANSACTIONS ARE GOVERNED BY NETWORK
     Rsaumaows AS WELL AS FEDERAL AND STATE LAW. INCLUDING THE. ELECTRONIC -FUNDS
     TRANSFER ACT (KNOWN AS REGULATION E) AND AGREES TO BE COMPEIANT WITH SUCH
     REGULATIONS.


     SCHNUGK AARKETS.                                    FIRST DATA MERCHANT SERWCES c:oRPoRAT|oN
     wus;                                                          /          .
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     Namé:    II   .9'r:n1¢n/r                       Name:          / L cc./40/W
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     Date: Ocinher 6, 201.7                              Date':    /¢~'/~-//

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                          . |=1Rs'f uATA.Mer<cHANT SERVICES coRPQRAT!0N .
                       ELECTRONIC BENEFITS TRANSFER TRANsAcT|oNAtaneNr>um

     This Addendufn {this."'Addendum")- to.that certain. Bankcard Processing Pggreemeni. for EBT Sewices is
     made and eniered into as of this      .   _ . day of _                         .201'1 between First Data.
     Merchant Servldes- Gorporatkan `amd Custémerfas ldentifiéd below;

     CLISTGMER understands and agrees ihat thatF||15! [Baia Merchant Séwlces Corparatlan.("EDMS").is the
     sewice provider `fnr processingGustbmer's EBT card transactlons.('EBT Servlcesf'), pursuant to the terms
     herein.

     CUSTOMER agrees to issue Cash Benetits and will provide cash back or cash only transactions.
     CUSTOMER agree to maintalnadequate cash on hand to issue confirmed Cash Benefits and will issue
     Cash Benefits to EBT customers In the same manner and to the same extent cash ls provided .to your
     other customers. CUSTOMER may not require that any EBT customers. purchase goods orservices asa
     condition to receiving Cash Benefi.ts, unless such condition applies to other customers as well,
     CUSTOMER may not designate special checkout lanes restricted to use by EBT customers unless
     CUSTOMER also designates special: checkout lanes for debit or CreditCards and/or other .payment
     methods.
     1.1. Issuance of B-enefits. CUSTQMER agree tp Issue benefits to.EBT customers in accordanee wllh
          the procedures specified lm all documentation providedzto GUSTQMEB.b.y FDMS. as amended from
          time-to-tinwe .and pursuant 'to -applicable law. CUSTOMER must provide. each. Eat custemer a
          receipt for each EBT transaction.
          CUSTOMER will Issue EBT benefits to EBT customers, in accordance with our then current
          procedures, in the amount authorized through a gpolnt-of-sale terminal.. with personal identification
          number pad and printer. In the event of an equipment failure, CUSTOMER must comply with
          applicable procedures regarding Authorization
          CUSTOMER must' al$D comply with. the procedures set forth In the Quest Operaflng Rules. as
          amended from time-to~tlme. Issued by the National Automated Clearing House Association and
          approved by the Financial Management Service' of tne =U,S. Treasury Department, and any
          addltlonat procedures specified byjany additional state or federal government or -agency regarding
          lost EBT Cards, forgotten PtNs, discrepancies ln beneflts authorized and similar rnatters by'
          provldlng EBT customers wlth lnformatlon. such as' telephone. numbers and addresses of the
          appropriate state agencles.
          CUSTDMER may not accept any EBT Card fur any .purpose oiher than the Issuance of benefits;
          Including wllhout limitatlonadceptance of any EBT Card as security foriepaymenl of-any customer
          obligatlbn. In the evénl of any vlolatlgn of this provision, CUSTOMER will' be obligated to reimburse
          the applicable state or FBMS for.ar\y benefits unlawfully recéeived.
     1.2. Issuance.Record§. QUSTOMER must retain all- EBT~re!ated records (Including but not limited to
          manual Sales Drafts) fQr three-(3) years fqllowing benefit issuance, or ifarsueh additionaf pericwd as
          may be required by law.
          CUSTIQMER must make all EBTfrelated-reeqrds.available fbr audit upon request to representatives
          of any applicable state nr Its EBT service provider, or ether-authorized state or federal government
           agency during normal business hours..
          To assure compliance-with this Section 4.2, a stare, Its -EBT servioa provider, or another 'authorized
          state or federhl. government agency. 'will at all tirriies, upomadvande notice, except th the case of
          suspected fraud or other similar activity, have theright to enter..durin~ normal business hours, your
          premises to inspect or evaluate any work performed under this Agreement. or to obtain ~ny other
          information required to be provided by CUSTOMER or otherwiée related to your EBT transactions.
     1.3. Required Licenses. If CUSTOMER issues benefits under this Agreement, CUSTOMER represents
          and warrants tc FDMS that CUSTCMER is properly authoriied to- enter such transactions and ls
          not currently disqualified or withdrawn from redeeming food. stamp coupons =or otherwise-
          dlsqualified or withdrawn by any applicable agency..CUSTOMER agrees to -secure and .maintain at
          your own expense .all necessary licenses., permits, franchises. or other authorities required to
          lawfully effect the issuance and distribution. ef benefits under this Agreement, including without
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          llmltalionany applicable franchise laxcerliflcate and non-gevernméntal contraotolis certificate, and.
          covenants lhél CUSTOMER will not issue benefits at' any llme durlng whlcn CUSTOMER ls not in
          aompliance with the requlremenls of any applicable law;
     1.4. Term and Termination. lf' CUSTUMER is disqualified of withdrawn from the food stamp program,
          your authority to issue benefits will be terminated oontemporaneeusly. therewith. Such
          disqualification or wlthdmwérl wltl be deemed a breaoh of this Agreement with- respeét to your
          authority toIssue Cash Benefits and, In the event ofeuch disquallfieetlong weshalt' have the right to
          immediately terminate the provision of :service under this Section 1.4 or this Addendum- In its
          entirety.
          -With respect-to the lssuancefof Cash Benettts only, yourauthorlty to issue 'Cash Benefits may be
          suspended or terminated=immediately;.at the sole discretion of,FDMS, me state or its EBT service
          provider, effective upon delivery of a notice of Suspension o.r termination specifying the reasons for
          such suspension -or termination If 'there shall 'be-(I) -any suspension, injunction.. cessation, er
          termination.of the 'EBT service pro.vider's authority to provide EBT sewices to the state; (il) failure
          by CUSTOMER, upon notuless than thirty (30)- days prior written notice, to cure any breach by
          CUSTOMER of the provisions -of these- terms and conditions, including without-limitation, your
          failure to support the issuance of benefits during, your normal- business hours consistent with your
          normal business practices, your failure to comply wltn issuance procedures, lmpermlsslhle
          acceptance of an EBT Card, or your disqualificationor Withdrawal from the food stamp program, or
          (ill) based on a state's or its EBT service provlder's investigation of me relevant' facts, evidence that
          CUSTOMER or any of. your agents or employees are committing, participating in,. or have
          knowledge of fraud or theft". In connection with the dispensing of benefits. 'ln the event CUSTOMER
          fails. to cure any breach es set forth above, CUSTOMER may appeal such suspension of
          termination to the applicable slate for determination In its sole discretion.
          In the event that your authority to Issue benefita is suspended or terminated by a state or its EBT
          service provider, and CUSTOMER successfuily.appealssuch suspension or termination io the state
          or its EBT service provider, wa shall beunder no obligation to reinstate the services. previously
             provided...
          The provision ot services under this. Sectipn 1.4 shall terminate auiomatigraily In the. event mai our
          Agreement or our servige provider's agreement with any applicable staxe's EBT' service provider
          terminates forany reason.
     1.5. Confidentlzglity of EBT.System lnfarmatlon. All information related toEBT recipients andlor the
          issuance ofibenefibsishall bé considered oonHdential Information.
          Individually idéntlfiable lnfarmatlon relating lo a bianellt reclplenlpr appli¢anl.for benefits wlll be- held
          Gunfldenllal and wln notbé disclosed by CUSTOMER or your qlrectbrs, officers, employees or
          agents, withoutprlor wrltlran .approval of .the applicable-state.
          The use of mfurmauon obtained by CUSTOMER Ih .the performance af your duties under this
          Section 1.6 will be limited to purposes directly connecied wifh-such duties.
     1.6. EBT Service Marks. CUSTOMER will adequately display any applicable state's service marks nr
          other licensed marks, Including .the Quest mark, and other materials supplleq=2py FDMS,,ccllectively
          the "Protected Marker" in accordance with the standerds set by the applicable state, QUSTOMER
          will use the Prolectedf Marks only to Indicate thatlaeneflts° are issued at your iccatlon(s) and will .not
          Indicate that we, anystate or its EBT service provider endorses your goods =or services; Your Eight
          to use such Protected Marks -pursuant to this Agreement will. continue only so long aetnle
          Agreement remains In effect or until CUSTOMER are 'notified by'-FDMS, any state or' its. EBT
          servloe provider to cease their use or display.
     1.7      EBT Fees;4




               General' Prlclriu lnformatlon:
           1. Billable transavllons .inolClde: purchases. returns, declines, reversals, and*-authorlzatldns;

           '2. The EBT networwiransaetlons Include authoilzatlon, sponsorship and settlement.

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           3.. The fees and charges set forth on this Schedule are in addition to au other ihirdparfyTees and ati
              fees due and payable to Servioers andior any applloableihird party, wI..|l be ciollected by Servicers
              asSetforth in the Agreement. In addition, CUSTOMER mayalsobo charged the network feeson
              a per transaction per network basis, pursuant to Section1,7 above.

            CUSTDMER AGREES 'EHAT THE ABQVBREFERENCED NETWORK FEES ARE GONTRULLED
            BY SAID NETW URK(S) .AND ARE. SUBJEGT' T Q CHANGE B Y THE; NETWORK(S) .AND
            THEREFORE TC THE GLJSTOMER- AT ANY T|ME, SERVICERS WILL USE .COMMERCIALLY
            'REASONABLE EFFORTS TO NOTIFY .CUSTOMERJPRIQR TO ANY EFFECTIVE CHANGE.

    1.8     Miscellaneous
            1.8.1. Amendments. if any of these terms and condltionsare found tmconflict-with federal or state-
            law, .re~ulatlon .or policy of the rules, these terms- ~nd conditions are subject 'to reasonable
            amendment by' a' state or its EBT service provider fo address .such conflict upon thirty (30) days
            written notice to-.CUSTOM ER provided that CUSTOMERmay, upon written notice. terminate your
            obligation under this Section 1 upon receipt of notice of such amendment..
            1¢8.2. State Action. Nothing contained' hereln shall preclude a state from Qommenclng appropriate
            admlnlslrallva or legal aioliori against CUSTOMER or for making any Referral for such action ta any
            appropriate federal, slate. or local iagency.

     1.9    This Amendment. together with all exhibits attached hereto, constitutes the entire agreement
            between the parties regarding the subject matter hereoi and supersedes alt prior and
            contemporaneous agreements and understandings. This Amendment shall affect only those
            provisions of the Addendum set fonh herein and the remaining terms and provisions of the
            Addendum shalt not be modified, amended or supplemented hereby and shell oontinuein fulltoroe
            and effect. in the event of e conflict between this.Amendment and the Addendum as it 'relates to
            the subject matter hereof, the terms of this Amjendmentshell control. Otherwise, all terms and
            conditions of theAddendum .and the ProcessinQ.Agreement shall likewiee apply to this Amendment.
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                          ATTACHMENT V- SERVICE LEVEL STANDARDS




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